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                                                                                             INVOICE
                                                                                    From     Public Catalyst
                                                                                             99 Wood Avenue South, Suite 301
                                                                                             Iselin, NJ 08830

                                                                                             FEIN #: XX-XXXXXXX




Invoice ID        Texas M.D. Monitoring 22-05                                  Invoice For   Texas M.D. Monitoring
Issue Date        01/06/2023

Due Date          02/06/2023

Subject           Texas Monitoring Team: December 2022




Item Type         Description                                                     Quantity             Rate             Amount

Service           Texas Permanent Injunction - 12/01/2022 - Communication or         0.50           $325.00             $162.50
                  Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                  Nicole Smith


Service           Texas Permanent Injunction - 12/01/2022 - Communication or         0.50           $325.00             $162.50
                  Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                  Melea Weber


Service           Texas Permanent Injunction - 12/01/2022 - Document                 6.25            $85.00             $531.25
                  Review/Data Analysis/Verification Work / Madison Clapp


Service           Texas Permanent Injunction - 12/01/2022 - Communication or         0.50           $395.00             $197.50
                  Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                  Megan Annitto


Service           Texas Permanent Injunction - 12/01/2022 - Communication or         0.50            $85.00              $42.50
                  Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                  Madison Clapp


Service           Texas Permanent Injunction - 12/01/2022 - Project                  1.00           $395.00             $395.00
                  Management & Planning / Megan Annitto


Service           Texas Permanent Injunction - 12/01/2022 - Document                 5.25           $395.00           $2,073.75
                  Review/Data Analysis/Verification Work / Megan Annitto


Service           Texas Permanent Injunction - 12/01/2022 - Communication or         1.00           $395.00             $395.00
                  Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                  Megan Annitto


Service           Texas Permanent Injunction - 12/01/2022 - Communication or         1.50           $395.00             $592.50
                  Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                  Aileen Williams




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Service        Texas Permanent Injunction - 12/01/2022 - Communication or         1.50   $395.00    $592.50
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Michael Garr


Service        Texas Permanent Injunction - 12/01/2022 - Document                 5.00   $395.00   $1,975.00
               Review/Data Analysis/Verification Work / Michael Garr


Service        Texas Permanent Injunction - 12/01/2022 - Communication or         0.25    $85.00     $21.25
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Madison Clapp


Service        Texas Permanent Injunction - 12/01/2022 - Document                 7.00   $395.00   $2,765.00
               Review/Data Analysis/Verification Work / Nadia Sexton


Service        Texas Permanent Injunction - 12/01/2022 - Document                 6.25   $250.00   $1,562.50
               Review/Data Analysis/Verification Work / Gianna Maita-
               Edwards


Service        Texas Permanent Injunction - 12/01/2022 - Communication or         0.50   $250.00    $125.00
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Gianna Maita-Edwards


Service        Texas Permanent Injunction - 12/01/2022 - Communication or         0.25   $250.00     $62.50
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Gianna Maita-Edwards


Service        Texas Permanent Injunction - 12/01/2022 - Communication or         0.50   $120.00     $60.00
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Natalie Nunez


Service        Texas Permanent Injunction - 12/01/2022 - Document                 6.50   $120.00    $780.00
               Review/Data Analysis/Verification Work / Natalie Nunez


Service        Texas Permanent Injunction - 12/01/2022 - Document                 7.00   $395.00   $2,765.00
               Review/Data Analysis/Verification Work / Robin Coleman


Service        Texas Permanent Injunction - 12/01/2022 - Communication or         0.75   $425.00    $318.75
               Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
               Ryan


Service        Texas Permanent Injunction - 12/01/2022 - Communication or         0.75   $425.00    $318.75
               Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
               Ryan


Service        Texas Permanent Injunction - 12/01/2022 - Document                 5.50   $395.00   $2,172.50
               Review/Data Analysis/Verification Work / Aileen Williams


Service        Texas Permanent Injunction - 12/01/2022 - Communication or         6.50   $325.00   $2,112.50
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Nicole Smith


Service        Texas Permanent Injunction - 12/01/2022 - Project                  1.00   $395.00    $395.00
               Management & Planning / Eileen Crummy


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Service        Texas Permanent Injunction - 12/01/2022 - Document                 0.25   $395.00     $98.75
               Review/Data Analysis/Verification Work / Eileen Crummy


Service        Texas Permanent Injunction - 12/01/2022 - Document                 7.00   $395.00   $2,765.00
               Review/Data Analysis/Verification Work / Jenny Paveglio


Service        Texas Permanent Injunction - 12/01/2022 - Document                 7.00   $395.00   $2,765.00
               Review/Data Analysis/Verification Work / Cassandra Poe-
               Johnson


Service        Texas Permanent Injunction - 12/01/2022 - Document                 1.50   $395.00    $592.50
               Review/Data Analysis/Verification Work / David Howard


Service        Texas Permanent Injunction - 12/01/2022 - Communication or         0.75   $325.00    $243.75
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Melea Weber


Service        Texas Permanent Injunction - 12/01/2022 - Document                 5.75   $325.00   $1,868.75
               Review/Data Analysis/Verification Work / Melea Weber


Service        Texas Permanent Injunction - 12/01/2022 - Communication or         0.50   $395.00    $197.50
               Meeting with the Court, a party, Monitor/Monitors' Staff / Diane
               Scott


Service        Texas Permanent Injunction - 12/01/2022 - Document                 0.75   $395.00    $296.25
               Review/Data Analysis/Verification Work / Diane Scott


Service        Texas Permanent Injunction - 12/01/2022 - Document                 3.00   $395.00   $1,185.00
               Review/Data Analysis/Verification Work / Jill Lefkowitz


Service        Texas Permanent Injunction - 12/01/2022 - Document                 0.25   $325.00     $81.25
               Review/Data Analysis/Verification Work / Tim Ross


Service        Texas Permanent Injunction - 12/01/2022 - Project                  0.25   $325.00     $81.25
               Management & Planning / Tim Ross


Service        Texas Permanent Injunction - 12/01/2022 - Project                  0.25   $250.00     $62.50
               Management & Planning / Samantha Loewen


Service        Texas Permanent Injunction - 12/01/2022 - Project                  0.25   $250.00     $62.50
               Management & Planning / June Simon


Service        Texas Permanent Injunction - 12/01/2022 - Project                  0.25   $250.00     $62.50
               Management & Planning / June Simon


Service        Texas Permanent Injunction - 12/01/2022 - Project                  0.50    $85.00     $42.50
               Management & Planning / Zsa Zsa Toms


Service        Texas Permanent Injunction - 12/01/2022 - Project                  0.25    $85.00     $21.25
               Management & Planning / Zsa Zsa Toms




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Service        Texas Permanent Injunction - 12/01/2022 - Administration /   1.00   $175.00    $175.00
               Nelson Ortiz


Service        Texas Permanent Injunction - 12/02/2022 - Document           5.50   $325.00   $1,787.50
               Review/Data Analysis/Verification Work / Melea Weber


Service        Texas Permanent Injunction - 12/02/2022 - Communication or   1.00    $85.00     $85.00
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Madison Clapp


Service        Texas Permanent Injunction - 12/02/2022 - Communication or   1.50    $85.00    $127.50
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Madison Clapp


Service        Texas Permanent Injunction - 12/02/2022 - Communication or   0.50   $325.00    $162.50
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Melea Weber


Service        Texas Permanent Injunction - 12/02/2022 - Communication or   0.50   $325.00    $162.50
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Nicole Smith


Service        Texas Permanent Injunction - 12/02/2022 - Monitoring         1.00   $175.00    $175.00
               Administration, Document Control, Research, Analysis
               (Administrator Only) / Maria Lundgren


Service        Texas Permanent Injunction - 12/02/2022 - Communication or   0.50   $395.00    $197.50
               Meeting with the Court, a party, Monitor/Monitors' Staff /
               Megan Annitto


Service        Texas Permanent Injunction - 12/02/2022 - Project            0.75   $395.00    $296.25
               Management & Planning / Megan Annitto


Service        Texas Permanent Injunction - 12/02/2022 - Communication or   1.00   $325.00    $325.00
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Melea Weber


Service        Texas Permanent Injunction - 12/02/2022 - Communication or   1.25   $120.00    $150.00
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Natalie Nunez


Service        Texas Permanent Injunction - 12/02/2022 - Communication or   1.00   $395.00    $395.00
               Meeting with the Court, a party, Monitor/Monitors' Staff /
               Megan Annitto


Service        Texas Permanent Injunction - 12/02/2022 - Document           5.00   $395.00   $1,975.00
               Review/Data Analysis/Verification Work / Megan Annitto


Service        Texas Permanent Injunction - 12/02/2022 - Document           4.50    $85.00    $382.50
               Review/Data Analysis/Verification Work / Madison Clapp


Service        Texas Permanent Injunction - 12/02/2022 - Document           5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Nicole Smith


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Service        Texas Permanent Injunction - 12/02/2022 - Communication or         1.25   $395.00    $493.75
               Meeting with the Court, a party, Monitor/Monitors' Staff / Jenny
               Paveglio


Service        Texas Permanent Injunction - 12/02/2022 - Document                 4.25   $395.00   $1,678.75
               Review/Data Analysis/Verification Work / Jenny Paveglio


Service        Texas Permanent Injunction - 12/02/2022 - Communication or         1.00   $120.00    $120.00
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Natalie Nunez


Service        Texas Permanent Injunction - 12/02/2022 - Communication or         4.75   $120.00    $570.00
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Natalie Nunez


Service        Texas Permanent Injunction - 12/02/2022 - Communication or         0.75   $250.00    $187.50
               Meeting with the Court, a party, Monitor/Monitors' Staff /
               Gianna Maita-Edwards


Service        Texas Permanent Injunction - 12/02/2022 - Document                 4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Gianna Maita-
               Edwards


Service        Texas Permanent Injunction - 12/02/2022 - Communication or         1.00   $250.00    $250.00
               Meeting with the Court, a party, Monitor/Monitors' Staff /
               Gianna Maita-Edwards


Service        Texas Permanent Injunction - 12/02/2022 - Communication or         1.25   $250.00    $312.50
               Meeting with the Court, a party, Monitor/Monitors' Staff /
               Gianna Maita-Edwards


Service        Texas Permanent Injunction - 12/02/2022 - Communication or         1.50   $395.00    $592.50
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Cheryl MacDougall


Service        Texas Permanent Injunction - 12/02/2022 - Document                 4.00   $395.00   $1,580.00
               Review/Data Analysis/Verification Work / Cheryl MacDougall


Service        Texas Permanent Injunction - 12/02/2022 - Document                 1.25   $395.00    $493.75
               Review/Data Analysis/Verification Work / Cheryl MacDougall


Service        Texas Permanent Injunction - 12/02/2022 - Report and               2.00   $425.00    $850.00
               Document Preparation / Kevin Ryan


Service        Texas Permanent Injunction - 12/02/2022 - Document                 7.00   $395.00   $2,765.00
               Review/Data Analysis/Verification Work / Charlene Womack


Service        Texas Permanent Injunction - 12/02/2022 - Project                  2.00   $395.00    $790.00
               Management & Planning / Eileen Crummy


Service        Texas Permanent Injunction - 12/02/2022 - Document                 0.25   $395.00     $98.75
               Review/Data Analysis/Verification Work / Eileen Crummy



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Service        Texas Permanent Injunction - 12/02/2022 - Document                 7.00   $395.00   $2,765.00
               Review/Data Analysis/Verification Work / Aileen Williams


Service        Texas Permanent Injunction - 12/02/2022 - Document                 2.00   $395.00    $790.00
               Review/Data Analysis/Verification Work / Jody Drebes


Service        Texas Permanent Injunction - 12/02/2022 - Document                 1.50   $395.00    $592.50
               Review/Data Analysis/Verification Work / Jody Drebes


Service        Texas Permanent Injunction - 12/02/2022 - Document                 1.50   $395.00    $592.50
               Review/Data Analysis/Verification Work / Jenny Paveglio


Service        Texas Permanent Injunction - 12/02/2022 - Communication or         0.50   $325.00    $162.50
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Darnyelle Cmil


Service        Texas Permanent Injunction - 12/02/2022 - Communication or         0.50   $395.00    $197.50
               Meeting with the Court, a party, Monitor/Monitors' Staff / Diane
               Scott


Service        Texas Permanent Injunction - 12/02/2022 - Document                 2.75   $395.00   $1,086.25
               Review/Data Analysis/Verification Work / Diane Scott


Service        Texas Permanent Injunction - 12/02/2022 - Document                 1.00   $395.00    $395.00
               Review/Data Analysis/Verification Work / Diane Scott


Service        Texas Permanent Injunction - 12/02/2022 - Document                 1.25   $250.00    $312.50
               Review/Data Analysis/Verification Work / June Simon


Service        Texas Permanent Injunction - 12/02/2022 - Document                 0.50   $250.00    $125.00
               Review/Data Analysis/Verification Work / June Simon


Service        Texas Permanent Injunction - 12/02/2022 - Document                 1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / June Simon


Service        Texas Permanent Injunction - 12/02/2022 - Document                 1.50   $250.00    $375.00
               Review/Data Analysis/Verification Work / June Simon


Service        Texas Permanent Injunction - 12/02/2022 - Document                 5.00   $395.00   $1,975.00
               Review/Data Analysis/Verification Work / Jill Lefkowitz


Service        Texas Permanent Injunction - 12/02/2022 - Document                 0.25   $250.00     $62.50
               Review/Data Analysis/Verification Work / June Simon


Service        Texas Permanent Injunction - 12/02/2022 - Document                 0.25   $250.00     $62.50
               Review/Data Analysis/Verification Work / June Simon


Service        Texas Permanent Injunction - 12/02/2022 - Project                  2.00    $85.00    $170.00
               Management & Planning / Zsa Zsa Toms


Service        Texas Permanent Injunction - 12/02/2022 - Project                  1.00    $85.00     $85.00
               Management & Planning / Zsa Zsa Toms


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Service        Texas Permanent Injunction - 12/02/2022 - Project                  1.00   $250.00    $250.00
               Management & Planning / Samantha Loewen


Service        Texas Permanent Injunction - 12/02/2022 - Document                 2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Samantha Loewen


Service        Texas Permanent Injunction - 12/02/2022 - Project                  0.25   $325.00     $81.25
               Management & Planning / Tim Ross


Service        Texas Permanent Injunction - 12/03/2022 - Document                 8.00   $395.00   $3,160.00
               Review/Data Analysis/Verification Work / Diane Scott


Service        Texas Permanent Injunction - 12/04/2022 - Project                  1.50   $395.00    $592.50
               Management & Planning / Lisa Taylor


Service        Texas Permanent Injunction - 12/04/2022 - Document                 0.75   $395.00    $296.25
               Review/Data Analysis/Verification Work / David Howard


Service        Texas Permanent Injunction - 12/04/2022 - Document                 1.75   $395.00    $691.25
               Review/Data Analysis/Verification Work / David Howard


Service        Texas Permanent Injunction - 12/04/2022 - Document                 8.25   $395.00   $3,258.75
               Review/Data Analysis/Verification Work / Diane Scott


Service        Texas Permanent Injunction - 12/04/2022 - Communication or         0.25   $395.00     $98.75
               Meeting with the Court, a party, Monitor/Monitors' Staff / Diane
               Scott


Service        Texas Permanent Injunction - 12/04/2022 - Report and               0.50   $395.00    $197.50
               Document Preparation / Diane Scott


Service        Texas Permanent Injunction - 12/05/2022 - Project                  0.50   $395.00    $197.50
               Management & Planning / Eileen Crummy


Service        Texas Permanent Injunction - 12/05/2022 - Communication or         2.75    $85.00    $233.75
               Meeting with the Court, a party, Monitor/Monitors' Staff /
               Madison Clapp


Service        Texas Permanent Injunction - 12/05/2022 - Communication or         0.50    $85.00     $42.50
               Meeting with the Court, a party, Monitor/Monitors' Staff /
               Madison Clapp


Service        Texas Permanent Injunction - 12/05/2022 - Monitoring               2.00   $175.00    $350.00
               Administration, Document Control, Research, Analysis
               (Administrator Only) / Maria Lundgren


Service        Texas Permanent Injunction - 12/05/2022 - Document                 2.50   $395.00    $987.50
               Review/Data Analysis/Verification Work / Charmaine Thomas


Service        Texas Permanent Injunction - 12/05/2022 - Document                 0.75   $395.00    $296.25
               Review/Data Analysis/Verification Work / Charmaine Thomas




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Service        Texas Permanent Injunction - 12/05/2022 - Communication or         0.25   $395.00     $98.75
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Charmaine Thomas


Service        Texas Permanent Injunction - 12/05/2022 - Document                 4.75   $325.00   $1,543.75
               Review/Data Analysis/Verification Work / Melea Weber


Service        Texas Permanent Injunction - 12/05/2022 - Project                  2.75   $395.00   $1,086.25
               Management & Planning / Lisa Taylor


Service        Texas Permanent Injunction - 12/05/2022 - Document                 1.50   $395.00    $592.50
               Review/Data Analysis/Verification Work / Lisa Taylor


Service        Texas Permanent Injunction - 12/05/2022 - Project                  1.75   $395.00    $691.25
               Management & Planning / Lisa Taylor


Service        Texas Permanent Injunction - 12/05/2022 - Document                 1.50   $395.00    $592.50
               Review/Data Analysis/Verification Work / Eileen Crummy


Service        Texas Permanent Injunction - 12/05/2022 - Document                 0.50   $395.00    $197.50
               Review/Data Analysis/Verification Work / Eileen Crummy


Service        Texas Permanent Injunction - 12/05/2022 - Communication or         0.25   $395.00     $98.75
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Charmaine Thomas


Service        Texas Permanent Injunction - 12/05/2022 - Document                 3.75   $395.00   $1,481.25
               Review/Data Analysis/Verification Work / Charmaine Thomas


Service        Texas Permanent Injunction - 12/05/2022 - Document                 3.75    $85.00    $318.75
               Review/Data Analysis/Verification Work / Madison Clapp


Service        Texas Permanent Injunction - 12/05/2022 - Communication or         0.75   $250.00    $187.50
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Gianna Maita-Edwards


Service        Texas Permanent Injunction - 12/05/2022 - Document                 6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Gianna Maita-
               Edwards


Service        Texas Permanent Injunction - 12/05/2022 - Communication or         0.25   $250.00     $62.50
               Meeting with the Court, a party, Monitor/Monitors' Staff /
               Gianna Maita-Edwards


Service        Texas Permanent Injunction - 12/05/2022 - Document                 7.00   $395.00   $2,765.00
               Review/Data Analysis/Verification Work / Claudia Tahan


Service        Texas Permanent Injunction - 12/05/2022 - Communication or         0.25   $395.00     $98.75
               Meeting with the Court, a Party, Monitor/Monitors’ Staff / Robin
               Coleman




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Service        Texas Permanent Injunction - 12/05/2022 - Document                 6.75   $395.00   $2,666.25
               Review/Data Analysis/Verification Work / Robin Coleman


Service        Texas Permanent Injunction - 12/05/2022 - Document                 7.00   $395.00   $2,765.00
               Review/Data Analysis/Verification Work / Charlene Womack


Service        Texas Permanent Injunction - 12/05/2022 - Document                 2.75   $395.00   $1,086.25
               Review/Data Analysis/Verification Work / Jody Drebes


Service        Texas Permanent Injunction - 12/05/2022 -                          0.25   $395.00     $98.75
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information /
               Jody Drebes


Service        Texas Permanent Injunction - 12/05/2022 - Document                 3.00   $395.00   $1,185.00
               Review/Data Analysis/Verification Work / Jody Drebes


Service        Texas Permanent Injunction - 12/05/2022 - Communication or         0.75   $425.00    $318.75
               Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
               Ryan


Service        Texas Permanent Injunction - 12/05/2022 - Project                  1.50   $425.00    $637.50
               Management & Planning / Kevin Ryan


Service        Texas Permanent Injunction - 12/05/2022 - Report and               2.25   $425.00    $956.25
               Document Preparation / Kevin Ryan


Service        Texas Permanent Injunction - 12/05/2022 - Communication or         1.00   $395.00    $395.00
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Megan Annitto


Service        Texas Permanent Injunction - 12/05/2022 - Communication or         0.75   $395.00    $296.25
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Megan Annitto


Service        Texas Permanent Injunction - 12/05/2022 - Project                  0.50   $395.00    $197.50
               Management & Planning / Megan Annitto


Service        Texas Permanent Injunction - 12/05/2022 - Document                 5.00   $395.00   $1,975.00
               Review/Data Analysis/Verification Work / Megan Annitto


Service        Texas Permanent Injunction - 12/05/2022 - Communication or         0.50   $120.00     $60.00
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Natalie Nunez


Service        Texas Permanent Injunction - 12/05/2022 - Communication or         1.00   $120.00    $120.00
               Meeting with the Court, a Party, Monitor/Monitors’ Staff /
               Natalie Nunez


Service        Texas Permanent Injunction - 12/05/2022 - Document                 5.50   $120.00    $660.00
               Review/Data Analysis/Verification Work / Natalie Nunez




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Service         Texas Permanent Injunction - 12/05/2022 - Document                 3.00   $395.00   $1,185.00
                Review/Data Analysis/Verification Work / Carlette Mack


Service         Texas Permanent Injunction - 12/05/2022 - Document                 1.00   $395.00    $395.00
                Review/Data Analysis/Verification Work / Cheryl MacDougall


Service         Texas Permanent Injunction - 12/05/2022 - Document                 2.75   $395.00   $1,086.25
                Review/Data Analysis/Verification Work / Cheryl MacDougall


Service         Texas Permanent Injunction - 12/05/2022 - Document                 1.50   $395.00    $592.50
                Review/Data Analysis/Verification Work / Cheryl MacDougall


Service         Texas Permanent Injunction - 12/05/2022 - Document                 7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Nadia Sexton


Service         Texas Permanent Injunction - 12/05/2022 - Document                 2.00   $325.00    $650.00
                Review/Data Analysis/Verification Work / Nicole Smith


Service         Texas Permanent Injunction - 12/05/2022 - Document                 1.25   $395.00    $493.75
                Review/Data Analysis/Verification Work / David Howard


Service         Texas Permanent Injunction - 12/05/2022 - Document                 1.00   $325.00    $325.00
                Review/Data Analysis/Verification Work / Darnyelle Cmil


Service         Texas Permanent Injunction - 12/05/2022 - Communication or         1.00   $395.00    $395.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                Scott


Service         Texas Permanent Injunction - 12/05/2022 - Document                 5.75   $395.00   $2,271.25
                Review/Data Analysis/Verification Work / Diane Scott


Service         Texas Permanent Injunction - 12/05/2022 - Communication or         0.25   $325.00     $81.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/05/2022 - Project                  1.50   $395.00    $592.50
                Management & Planning / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/05/2022 - Document                 1.25   $395.00    $493.75
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/05/2022 - Project                  0.25   $250.00     $62.50
                Management & Planning / June Simon


Service         Texas Permanent Injunction - 12/05/2022 - Project                  0.50    $85.00     $42.50
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/05/2022 - Project                  0.50    $85.00     $42.50
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/05/2022 - Project                  0.50    $85.00     $42.50
                Management & Planning / Zsa Zsa Toms


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Service         Texas Permanent Injunction - 12/05/2022 - Project                  0.50    $85.00     $42.50
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/05/2022 - Project                  0.50   $325.00    $162.50
                Management & Planning / Tim Ross


Service         Texas Permanent Injunction - 12/05/2022 - Project                  0.50   $250.00    $125.00
                Management & Planning / Samantha Loewen


Service         Texas Permanent Injunction - 12/05/2022 - Project                  1.00   $250.00    $250.00
                Management & Planning / Samantha Loewen


Service         Texas Permanent Injunction - 12/05/2022 - Document                 3.25   $250.00    $812.50
                Review/Data Analysis/Verification Work / Samantha Loewen


Service         Texas Permanent Injunction - 12/05/2022 - Document                 1.50   $250.00    $375.00
                Review/Data Analysis/Verification Work / Samantha Loewen


Service         Texas Permanent Injunction - 12/06/2022 - Project                  1.00   $395.00    $395.00
                Management & Planning / Eileen Crummy


Service         Texas Permanent Injunction - 12/06/2022 - Communication or         1.00   $395.00    $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff / Jenny
                Paveglio


Service         Texas Permanent Injunction - 12/06/2022 - Document                 4.25   $395.00   $1,678.75
                Review/Data Analysis/Verification Work / Jenny Paveglio


Service         Texas Permanent Injunction - 12/06/2022 - Communication or         0.25    $85.00     $21.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Madison Clapp


Service         Texas Permanent Injunction - 12/06/2022 - Communication or         2.50    $85.00    $212.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Madison Clapp


Service         Texas Permanent Injunction - 12/06/2022 - Communication or         1.00   $395.00    $395.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Michael Garr


Service         Texas Permanent Injunction - 12/06/2022 - Document                 5.75   $395.00   $2,271.25
                Review/Data Analysis/Verification Work / Michael Garr


Service         Texas Permanent Injunction - 12/06/2022 - Communication or         2.00   $325.00    $650.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/06/2022 - Communication or         0.50   $425.00    $212.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                Ryan




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Service         Texas Permanent Injunction - 12/06/2022 - Communication or   1.50   $395.00   $592.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/06/2022 - Communication or   1.00   $395.00   $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/06/2022 - Document           1.75   $395.00   $691.25
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/06/2022 - Communication or   0.25   $395.00    $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/06/2022 - Communication or   1.00   $395.00   $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Aileen Williams


Service         Texas Permanent Injunction - 12/06/2022 - Communication or   1.00   $395.00   $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Aileen Williams


Service         Texas Permanent Injunction - 12/06/2022 - Document           1.50   $395.00   $592.50
                Review/Data Analysis/Verification Work / Eileen Crummy


Service         Texas Permanent Injunction - 12/06/2022 - Project            0.50   $395.00   $197.50
                Management & Planning / Eileen Crummy


Service         Texas Permanent Injunction - 12/06/2022 - Communication or   2.50   $395.00   $987.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/06/2022 - Communication or   1.25   $395.00   $493.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/06/2022 - Project            1.00   $395.00   $395.00
                Management & Planning / Charmaine Thomas


Service         Texas Permanent Injunction - 12/06/2022 - Communication or   0.25   $395.00    $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Michael Garr


Service         Texas Permanent Injunction - 12/06/2022 - Communication or   1.00   $395.00   $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Claudia Tahan


Service         Texas Permanent Injunction - 12/06/2022 - Communication or   1.75   $395.00   $691.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Claudia Tahan




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Service         Texas Permanent Injunction - 12/06/2022 - Communication or         1.75   $395.00    $691.25
                Meeting with the Court, a party, Monitor/Monitors' Staff / Jenny
                Paveglio


Service         Texas Permanent Injunction - 12/06/2022 - Document                 0.75   $395.00    $296.25
                Review/Data Analysis/Verification Work / Claudia Tahan


Service         Texas Permanent Injunction - 12/06/2022 - Communication or         0.25   $250.00     $62.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Gianna Maita-Edwards


Service         Texas Permanent Injunction - 12/06/2022 - Communication or         2.00   $250.00    $500.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Gianna Maita-Edwards


Service         Texas Permanent Injunction - 12/06/2022 - Document                 4.75   $250.00   $1,187.50
                Review/Data Analysis/Verification Work / Gianna Maita-
                Edwards


Service         Texas Permanent Injunction - 12/06/2022 - Communication or         0.25   $120.00     $30.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/06/2022 - Document                 6.75   $120.00    $810.00
                Review/Data Analysis/Verification Work / Natalie Nunez


Service         Texas Permanent Injunction - 12/06/2022 - Document                 1.50   $395.00    $592.50
                Review/Data Analysis/Verification Work / Lisa Taylor


Service         Texas Permanent Injunction - 12/06/2022 - Project                  0.50   $395.00    $197.50
                Management & Planning / Lisa Taylor


Service         Texas Permanent Injunction - 12/06/2022 - Communication or         0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Aileen Williams


Service         Texas Permanent Injunction - 12/06/2022 - Communication or         1.50   $395.00    $592.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Aileen Williams


Service         Texas Permanent Injunction - 12/06/2022 - Document                 1.25   $395.00    $493.75
                Review/Data Analysis/Verification Work / Carlette Mack


Service         Texas Permanent Injunction - 12/06/2022 - Communication or         1.00   $395.00    $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff / Robin
                Coleman


Service         Texas Permanent Injunction - 12/06/2022 - Document                 6.00   $395.00   $2,370.00
                Review/Data Analysis/Verification Work / Robin Coleman


Service         Texas Permanent Injunction - 12/06/2022 - Document                 5.50   $395.00   $2,172.50
                Review/Data Analysis/Verification Work / Jody Drebes



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Service         Texas Permanent Injunction - 12/06/2022 - Communication or        1.00   $395.00    $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff / Jody
                Drebes


Service         Texas Permanent Injunction - 12/06/2022 - Document                5.00   $325.00   $1,625.00
                Review/Data Analysis/Verification Work / Melea Weber


Service         Texas Permanent Injunction - 12/06/2022 - Communication or        1.00   $395.00    $395.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Cassandra Poe-Johnson


Service         Texas Permanent Injunction - 12/06/2022 - Communication or        1.00   $395.00    $395.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Cassandra Poe-Johnson


Service         Texas Permanent Injunction - 12/06/2022 - Communication or        1.50   $395.00    $592.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Cassandra Poe-Johnson


Service         Texas Permanent Injunction - 12/06/2022 - Document                3.50   $395.00   $1,382.50
                Review/Data Analysis/Verification Work / Cassandra Poe-
                Johnson


Service         Texas Permanent Injunction - 12/06/2022 - Document                4.25    $85.00    $361.25
                Review/Data Analysis/Verification Work / Madison Clapp


Service         Texas Permanent Injunction - 12/06/2022 - Communication or        1.00   $395.00    $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charlene Womack


Service         Texas Permanent Injunction - 12/06/2022 - Document                6.00   $395.00   $2,370.00
                Review/Data Analysis/Verification Work / Charlene Womack


Service         Texas Permanent Injunction - 12/06/2022 - Document                2.50   $395.00    $987.50
                Review/Data Analysis/Verification Work / Cheryl MacDougall


Service         Texas Permanent Injunction - 12/06/2022 - Document                1.00   $395.00    $395.00
                Review/Data Analysis/Verification Work / Cheryl MacDougall


Service         Texas Permanent Injunction - 12/06/2022 - Document                1.00   $395.00    $395.00
                Review/Data Analysis/Verification Work / Cheryl MacDougall


Service         Texas Permanent Injunction - 12/06/2022 - Document                4.75   $395.00   $1,876.25
                Review/Data Analysis/Verification Work / Megan Annitto


Service         Texas Permanent Injunction - 12/06/2022 - Document                7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Nadia Sexton


Service         Texas Permanent Injunction - 12/06/2022 - Document                2.00   $325.00    $650.00
                Review/Data Analysis/Verification Work / Nicole Smith




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Service         Texas Permanent Injunction - 12/06/2022 - Document                 3.25   $395.00   $1,283.75
                Review/Data Analysis/Verification Work / Aileen Williams


Service         Texas Permanent Injunction - 12/06/2022 - Document                 6.25   $325.00   $2,031.25
                Review/Data Analysis/Verification Work / Darnyelle Cmil


Service         Texas Permanent Injunction - 12/06/2022 - Document                 5.00   $395.00   $1,975.00
                Review/Data Analysis/Verification Work / Diane Scott


Service         Texas Permanent Injunction - 12/06/2022 - Communication or         1.25   $395.00    $493.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Diane
                Scott


Service         Texas Permanent Injunction - 12/06/2022 - Communication or         0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Diane
                Scott


Service         Texas Permanent Injunction - 12/06/2022 - Document                 1.25   $250.00    $312.50
                Review/Data Analysis/Verification Work / June Simon


Service         Texas Permanent Injunction - 12/06/2022 - Document                 0.25   $250.00     $62.50
                Review/Data Analysis/Verification Work / June Simon


Service         Texas Permanent Injunction - 12/06/2022 - Project                  0.50    $85.00     $42.50
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/06/2022 - Project                  0.50    $85.00     $42.50
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/06/2022 - Document                 1.00   $325.00    $325.00
                Review/Data Analysis/Verification Work / Tim Ross


Service         Texas Permanent Injunction - 12/06/2022 - Document                 1.00   $395.00    $395.00
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/06/2022 - Document                 0.50   $395.00    $197.50
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/06/2022 - Document                 1.00   $395.00    $395.00
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/06/2022 - Communication or         1.25   $395.00    $493.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Jill
                Lefkowitz


Service         Texas Permanent Injunction - 12/06/2022 - Document                 1.00   $395.00    $395.00
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/07/2022 - Communication or         1.50    $85.00    $127.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Madison Clapp




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Service         Texas Permanent Injunction - 12/07/2022 - Communication or   0.50    $85.00     $42.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Madison Clapp


Service         Texas Permanent Injunction - 12/07/2022 - Document           5.00    $85.00    $425.00
                Review/Data Analysis/Verification Work / Madison Clapp


Service         Texas Permanent Injunction - 12/07/2022 - Communication or   1.50   $325.00    $487.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/07/2022 - Communication or   1.50   $120.00    $180.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/07/2022 - Monitoring         1.00   $175.00    $175.00
                Administration, Document Control, Research, Analysis
                (Administrator Only) / Maria Lundgren


Service         Texas Permanent Injunction - 12/07/2022 - Communication or   0.25   $325.00     $81.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Nicole Smith


Service         Texas Permanent Injunction - 12/07/2022 - Document           5.00   $395.00   $1,975.00
                Review/Data Analysis/Verification Work / Jody Drebes


Service         Texas Permanent Injunction - 12/07/2022 - Project            0.50   $425.00    $212.50
                Management & Planning / Kevin Ryan


Service         Texas Permanent Injunction - 12/07/2022 - Document           0.50   $425.00    $212.50
                Review/Data Analysis/Verification Work / Kevin Ryan


Service         Texas Permanent Injunction - 12/07/2022 - Document           6.00   $395.00   $2,370.00
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/07/2022 - Communication or   0.75   $395.00    $296.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/07/2022 - Communication or   0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/07/2022 - Document           6.25   $395.00   $2,468.75
                Review/Data Analysis/Verification Work / Claudia Tahan


Service         Texas Permanent Injunction - 12/07/2022 - Communication or   0.75   $395.00    $296.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Claudia Tahan


Service         Texas Permanent Injunction - 12/07/2022 - Document           2.75   $325.00    $893.75
                Review/Data Analysis/Verification Work / Nicole Smith



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Service         Texas Permanent Injunction - 12/07/2022 - Communication or   1.00   $250.00    $250.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Gianna Maita-Edwards


Service         Texas Permanent Injunction - 12/07/2022 - Document           4.00   $250.00   $1,000.00
                Review/Data Analysis/Verification Work / Gianna Maita-
                Edwards


Service         Texas Permanent Injunction - 12/07/2022 - Report and         2.00   $250.00    $500.00
                Document Preparation / Gianna Maita-Edwards


Service         Texas Permanent Injunction - 12/07/2022 - Document           0.50   $395.00    $197.50
                Review/Data Analysis/Verification Work / Cheryl MacDougall


Service         Texas Permanent Injunction - 12/07/2022 - Document           3.75   $395.00   $1,481.25
                Review/Data Analysis/Verification Work / Cheryl MacDougall


Service         Texas Permanent Injunction - 12/07/2022 - Communication or   1.75   $120.00    $210.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/07/2022 - Document           3.75   $120.00    $450.00
                Review/Data Analysis/Verification Work / Natalie Nunez


Service         Texas Permanent Injunction - 12/07/2022 - Communication or   1.50   $395.00    $592.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/07/2022 - Report and         2.00   $395.00    $790.00
                Document Preparation / Megan Annitto


Service         Texas Permanent Injunction - 12/07/2022 - Document           3.50   $395.00   $1,382.50
                Review/Data Analysis/Verification Work / Megan Annitto


Service         Texas Permanent Injunction - 12/07/2022 - Document           1.00   $395.00    $395.00
                Review/Data Analysis/Verification Work / Carlette Mack


Service         Texas Permanent Injunction - 12/07/2022 - Document           7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Charlene Womack


Service         Texas Permanent Injunction - 12/07/2022 - Document           7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Nadia Sexton


Service         Texas Permanent Injunction - 12/07/2022 - Document           7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Michael Garr


Service         Texas Permanent Injunction - 12/07/2022 - Document           7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Cassandra Poe-
                Johnson


Service         Texas Permanent Injunction - 12/07/2022 - Document           7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Aileen Williams



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Service         Texas Permanent Injunction - 12/07/2022 - Communication or         0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Robin
                Coleman


Service         Texas Permanent Injunction - 12/07/2022 - Document                 6.75   $395.00   $2,666.25
                Review/Data Analysis/Verification Work / Robin Coleman


Service         Texas Permanent Injunction - 12/07/2022 - Document                 7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Jenny Paveglio


Service         Texas Permanent Injunction - 12/07/2022 - Document                 5.50   $325.00   $1,787.50
                Review/Data Analysis/Verification Work / Melea Weber


Service         Texas Permanent Injunction - 12/07/2022 - Communication or         0.50   $325.00    $162.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Darnyelle Cmil


Service         Texas Permanent Injunction - 12/07/2022 - Document                 3.75   $325.00   $1,218.75
                Review/Data Analysis/Verification Work / Darnyelle Cmil


Service         Texas Permanent Injunction - 12/07/2022 - Document                 2.50   $395.00    $987.50
                Review/Data Analysis/Verification Work / Diane Scott


Service         Texas Permanent Injunction - 12/07/2022 - Report and               0.50   $250.00    $125.00
                Document Preparation / June Simon


Service         Texas Permanent Injunction - 12/07/2022 - Project                  0.25   $250.00     $62.50
                Management & Planning / June Simon


Service         Texas Permanent Injunction - 12/07/2022 - Document                 3.75   $395.00   $1,481.25
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/07/2022 - Project                  0.25   $395.00     $98.75
                Management & Planning / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/07/2022 - Document                 0.50   $395.00    $197.50
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/07/2022 - Project                  1.50    $85.00    $127.50
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/07/2022 - Project                  0.50   $250.00    $125.00
                Management & Planning / Samantha Loewen


Service         Texas Permanent Injunction - 12/08/2022 - Monitoring               0.25   $175.00     $43.75
                Administration, Document Control, Research, Analysis
                (Administrator Only) / Maria Lundgren


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         0.75    $85.00     $63.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Madison Clapp




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Service         Texas Permanent Injunction - 12/08/2022 - Communication or         0.75   $325.00    $243.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         0.50   $395.00    $197.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Nadia
                Sexton


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         0.75   $120.00     $90.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/08/2022 - Document                 5.75    $85.00    $488.75
                Review/Data Analysis/Verification Work / Madison Clapp


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         1.50   $395.00    $592.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Michael Garr


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         0.50    $85.00     $42.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Madison Clapp


Service         Texas Permanent Injunction - 12/08/2022 - Document                 5.25   $395.00   $2,073.75
                Review/Data Analysis/Verification Work / Michael Garr


Service         Texas Permanent Injunction - 12/08/2022 - Document                 3.00   $120.00    $360.00
                Review/Data Analysis/Verification Work / Natalie Nunez


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         1.25   $395.00    $493.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         0.50   $395.00    $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         0.75   $395.00    $296.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/08/2022 - Document                 2.00   $395.00    $790.00
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas




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Service         Texas Permanent Injunction - 12/08/2022 - Communication or         0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         1.25   $395.00    $493.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/08/2022 - Document                 3.00   $395.00   $1,185.00
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Robin
                Coleman


Service         Texas Permanent Injunction - 12/08/2022 - Document                 5.00   $395.00   $1,975.00
                Review/Data Analysis/Verification Work / Megan Annitto


Service         Texas Permanent Injunction - 12/08/2022 - Document                 7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Claudia Tahan


Service         Texas Permanent Injunction - 12/08/2022 - Document                 5.50   $250.00   $1,375.00
                Review/Data Analysis/Verification Work / Gianna Maita-
                Edwards


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         0.75   $250.00    $187.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Gianna Maita-Edwards


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         0.75   $250.00    $187.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Gianna Maita-Edwards


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/08/2022 - Report and               0.25   $395.00     $98.75
                Document Preparation / Charmaine Thomas


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         2.00   $395.00    $790.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Cassandra Poe-Johnson


Service         Texas Permanent Injunction - 12/08/2022 - Document                 5.00   $395.00   $1,975.00
                Review/Data Analysis/Verification Work / Cassandra Poe-
                Johnson


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         0.25   $395.00     $98.75
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Charmaine Thomas




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Service         Texas Permanent Injunction - 12/08/2022 - Communication or         0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Michael Garr


Service         Texas Permanent Injunction - 12/08/2022 - Document                 6.50   $395.00   $2,567.50
                Review/Data Analysis/Verification Work / Nadia Sexton


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         1.50   $395.00    $592.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Aileen Williams


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         2.00   $395.00    $790.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Aileen Williams


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Aileen Williams


Service         Texas Permanent Injunction - 12/08/2022 - Document                 3.25   $395.00   $1,283.75
                Review/Data Analysis/Verification Work / Aileen Williams


Service         Texas Permanent Injunction - 12/08/2022 - Document                 6.75   $395.00   $2,666.25
                Review/Data Analysis/Verification Work / Charlene Womack


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charlene Womack


Service         Texas Permanent Injunction - 12/08/2022 - Document                 6.75   $395.00   $2,666.25
                Review/Data Analysis/Verification Work / Robin Coleman


Service         Texas Permanent Injunction - 12/08/2022 - Document                 1.00   $395.00    $395.00
                Review/Data Analysis/Verification Work / Jenny Paveglio


Service         Texas Permanent Injunction - 12/08/2022 - Document                 6.00   $395.00   $2,370.00
                Review/Data Analysis/Verification Work / Jenny Paveglio


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         0.50   $425.00    $212.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                Ryan


Service         Texas Permanent Injunction - 12/08/2022 - Report and               0.50   $425.00    $212.50
                Document Preparation / Kevin Ryan


Service         Texas Permanent Injunction - 12/08/2022 - Project                  1.00   $425.00    $425.00
                Management & Planning / Kevin Ryan


Service         Texas Permanent Injunction - 12/08/2022 - Document                 5.50   $325.00   $1,787.50
                Review/Data Analysis/Verification Work / Melea Weber




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Service         Texas Permanent Injunction - 12/08/2022 - Communication or         0.25   $325.00     $81.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/08/2022 - Document                 3.50   $325.00   $1,137.50
                Review/Data Analysis/Verification Work / Nicole Smith


Service         Texas Permanent Injunction - 12/08/2022 - Document                 1.00   $395.00    $395.00
                Review/Data Analysis/Verification Work / David Howard


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         0.50   $325.00    $162.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Nicole Smith


Service         Texas Permanent Injunction - 12/08/2022 - Document                 6.00   $325.00   $1,950.00
                Review/Data Analysis/Verification Work / Darnyelle Cmil


Service         Texas Permanent Injunction - 12/08/2022 - Document                 0.25   $395.00     $98.75
                Review/Data Analysis/Verification Work / Diane Scott


Service         Texas Permanent Injunction - 12/08/2022 - Communication or         1.00   $395.00    $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff / Diane
                Scott


Service         Texas Permanent Injunction - 12/08/2022 - Document                 0.75   $395.00    $296.25
                Review/Data Analysis/Verification Work / Diane Scott


Service         Texas Permanent Injunction - 12/08/2022 - Document                 4.25   $395.00   $1,678.75
                Review/Data Analysis/Verification Work / Diane Scott


Service         Texas Permanent Injunction - 12/08/2022 - Project                  0.25   $250.00     $62.50
                Management & Planning / June Simon


Service         Texas Permanent Injunction - 12/08/2022 - Document                 0.25   $395.00     $98.75
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/08/2022 - Document                 4.00   $395.00   $1,580.00
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/08/2022 - Document                 2.50   $395.00    $987.50
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/08/2022 - Project                  1.00    $85.00     $85.00
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/09/2022 - Document                 6.50    $85.00    $552.50
                Review/Data Analysis/Verification Work / Madison Clapp


Service         Texas Permanent Injunction - 12/09/2022 - Document                 3.25   $395.00   $1,283.75
                Review/Data Analysis/Verification Work / Claudia Tahan




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Service         Texas Permanent Injunction - 12/09/2022 - Communication or   0.25   $395.00     $98.75
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/09/2022 - Communication or   0.25   $395.00     $98.75
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/09/2022 - Communication or   0.25   $395.00     $98.75
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Claudia Tahan


Service         Texas Permanent Injunction - 12/09/2022 - Communication or   2.00   $120.00    $240.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/09/2022 - Communication or   0.50    $85.00     $42.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Madison Clapp


Service         Texas Permanent Injunction - 12/09/2022 - Document           5.75   $325.00   $1,868.75
                Review/Data Analysis/Verification Work / Melea Weber


Service         Texas Permanent Injunction - 12/09/2022 - Document           5.75   $395.00   $2,271.25
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/09/2022 - Document           7.00   $325.00   $2,275.00
                Review/Data Analysis/Verification Work / Nicole Smith


Service         Texas Permanent Injunction - 12/09/2022 - Communication or   1.00   $325.00    $325.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/09/2022 - Communication or   0.50   $120.00     $60.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/09/2022 - Document           4.50   $120.00    $540.00
                Review/Data Analysis/Verification Work / Natalie Nunez


Service         Texas Permanent Injunction - 12/09/2022 - Communication or   0.50   $250.00    $125.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Gianna Maita-Edwards


Service         Texas Permanent Injunction - 12/09/2022 - Communication or   0.25   $250.00     $62.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Gianna Maita-Edwards


Service         Texas Permanent Injunction - 12/09/2022 - Communication or   1.00   $250.00    $250.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Gianna Maita-Edwards




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Service         Texas Permanent Injunction - 12/09/2022 - Communication or         5.25   $250.00   $1,312.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Gianna Maita-Edwards


Service         Texas Permanent Injunction - 12/09/2022 - Document                 2.00   $395.00    $790.00
                Review/Data Analysis/Verification Work / Jenny Paveglio


Service         Texas Permanent Injunction - 12/09/2022 - Document                 5.00   $395.00   $1,975.00
                Review/Data Analysis/Verification Work / Jenny Paveglio


Service         Texas Permanent Injunction - 12/09/2022 - Document                 7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Aileen Williams


Service         Texas Permanent Injunction - 12/09/2022 - Document                 1.75   $395.00    $691.25
                Review/Data Analysis/Verification Work / David Howard


Service         Texas Permanent Injunction - 12/09/2022 - Communication or         0.75   $395.00    $296.25
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / David
                Howard


Service         Texas Permanent Injunction - 12/09/2022 - Communication or         2.00   $395.00    $790.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/09/2022 - Communication or         1.00   $395.00    $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/09/2022 - Document                 4.50   $395.00   $1,777.50
                Review/Data Analysis/Verification Work / Megan Annitto


Service         Texas Permanent Injunction - 12/09/2022 -                          0.50   $395.00    $197.50
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Megan Annitto


Service         Texas Permanent Injunction - 12/09/2022 - Communication or         1.00   $395.00    $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Carlette Mack


Service         Texas Permanent Injunction - 12/09/2022 - Document                 1.00   $395.00    $395.00
                Review/Data Analysis/Verification Work / Carlette Mack


Service         Texas Permanent Injunction - 12/09/2022 - Communication or         0.25   $325.00     $81.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/09/2022 - Document                 2.50   $395.00    $987.50
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/09/2022 - Document                 0.25   $395.00     $98.75
                Review/Data Analysis/Verification Work / Jill Lefkowitz



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Service         Texas Permanent Injunction - 12/09/2022 - Document           4.75   $395.00   $1,876.25
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/09/2022 - Project            1.00    $85.00     $85.00
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/09/2022 - Document           1.00    $85.00     $85.00
                Review/Data Analysis/Verification Work / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/09/2022 - Project            1.00    $85.00     $85.00
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/09/2022 - Project            1.50    $85.00    $127.50
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/09/2022 - Document           0.50   $250.00    $125.00
                Review/Data Analysis/Verification Work / Samantha Loewen


Service         Texas Permanent Injunction - 12/10/2022 - Document           1.50   $395.00    $592.50
                Review/Data Analysis/Verification Work / David Howard


Service         Texas Permanent Injunction - 12/11/2022 - Project            1.25   $395.00    $493.75
                Management & Planning / Lisa Taylor


Service         Texas Permanent Injunction - 12/11/2022 - Project            0.50   $425.00    $212.50
                Management & Planning / Kevin Ryan


Service         Texas Permanent Injunction - 12/11/2022 - Document           1.25   $395.00    $493.75
                Review/Data Analysis/Verification Work / David Howard


Service         Texas Permanent Injunction - 12/11/2022 - Project            0.50   $425.00    $212.50
                Management & Planning / Kevin Ryan


Service         Texas Permanent Injunction - 12/12/2022 - Document           5.50   $395.00   $2,172.50
                Review/Data Analysis/Verification Work / Megan Annitto


Service         Texas Permanent Injunction - 12/12/2022 - Communication or   1.50   $325.00    $487.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/12/2022 - Communication or   1.50   $120.00    $180.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/12/2022 - Document           6.50    $85.00    $552.50
                Review/Data Analysis/Verification Work / Madison Clapp


Service         Texas Permanent Injunction - 12/12/2022 - Document           0.50   $425.00    $212.50
                Review/Data Analysis/Verification Work / Kevin Ryan




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Service         Texas Permanent Injunction - 12/12/2022 - Monitoring          0.50   $175.00     $87.50
                Administration, Document Control, Research, Analysis
                (Administrator Only) / Maria Lundgren


Service         Texas Permanent Injunction - 12/12/2022 - Document            1.00   $395.00    $395.00
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/12/2022 - Document            4.75   $395.00   $1,876.25
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/12/2022 - Communication or    1.50   $395.00    $592.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/12/2022 -                     0.25   $395.00     $98.75
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Megan Annitto


Service         Texas Permanent Injunction - 12/12/2022 - Communication or    0.50    $85.00     $42.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Madison Clapp


Service         Texas Permanent Injunction - 12/12/2022 - Document            0.50   $395.00    $197.50
                Review/Data Analysis/Verification Work / Lisa Taylor


Service         Texas Permanent Injunction - 12/12/2022 - Document            7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Claudia Tahan


Service         Texas Permanent Injunction - 12/12/2022 - Document            0.25   $395.00     $98.75
                Review/Data Analysis/Verification Work / Eileen Crummy


Service         Texas Permanent Injunction - 12/12/2022 - Document            7.75   $395.00   $3,061.25
                Review/Data Analysis/Verification Work / Jody Drebes


Service         Texas Permanent Injunction - 12/12/2022 - Communication or    0.75   $120.00     $90.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/12/2022 - Document            4.75   $120.00    $570.00
                Review/Data Analysis/Verification Work / Natalie Nunez


Service         Texas Permanent Injunction - 12/12/2022 - Report and          1.00   $425.00    $425.00
                Document Preparation / Kevin Ryan


Service         Texas Permanent Injunction - 12/12/2022 - Document            7.00   $325.00   $2,275.00
                Review/Data Analysis/Verification Work / Nicole Smith


Service         Texas Permanent Injunction - 12/12/2022 - Document            7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Robin Coleman




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Service         Texas Permanent Injunction - 12/12/2022 - Document                7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Charlene Womack


Service         Texas Permanent Injunction - 12/12/2022 - Document                1.25   $395.00    $493.75
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/12/2022 - Document                5.50   $325.00   $1,787.50
                Review/Data Analysis/Verification Work / Melea Weber


Service         Texas Permanent Injunction - 12/12/2022 - Document                7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Nadia Sexton


Service         Texas Permanent Injunction - 12/12/2022 - Document                1.75   $395.00    $691.25
                Review/Data Analysis/Verification Work / David Howard


Service         Texas Permanent Injunction - 12/12/2022 - Document                0.50   $250.00    $125.00
                Review/Data Analysis/Verification Work / June Simon


Service         Texas Permanent Injunction - 12/12/2022 - Project                 0.25   $250.00     $62.50
                Management & Planning / June Simon


Service         Texas Permanent Injunction - 12/12/2022 - Project                 0.25   $250.00     $62.50
                Management & Planning / June Simon


Service         Texas Permanent Injunction - 12/12/2022 - Project                 0.25   $250.00     $62.50
                Management & Planning / June Simon


Service         Texas Permanent Injunction - 12/12/2022 - Project                 1.00   $395.00    $395.00
                Management & Planning / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/12/2022 - Project                 0.75   $395.00    $296.25
                Management & Planning / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/12/2022 - Document                5.00   $395.00   $1,975.00
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/12/2022 - Project                 0.25   $325.00     $81.25
                Management & Planning / Tim Ross


Service         Texas Permanent Injunction - 12/12/2022 - Project                 0.50   $250.00    $125.00
                Management & Planning / Samantha Loewen


Service         Texas Permanent Injunction - 12/12/2022 -                         0.75    $85.00     $63.75
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges to barriers to data and information / Zsa
                Zsa Toms


Service         Texas Permanent Injunction - 12/12/2022 - Project                 0.50    $85.00     $42.50
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/12/2022 - Project                 2.00    $85.00    $170.00
                Management & Planning / Zsa Zsa Toms


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Service         Texas Permanent Injunction - 12/12/2022 - Project                  0.25   $325.00     $81.25
                Management & Planning / Tim Ross


Service         Texas Permanent Injunction - 12/13/2022 - Document                 5.75   $395.00   $2,271.25
                Review/Data Analysis/Verification Work / Robin Coleman


Service         Texas Permanent Injunction - 12/13/2022 - Communication or         1.00   $395.00    $395.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Robin
                Coleman


Service         Texas Permanent Injunction - 12/13/2022 - Document                 0.50   $395.00    $197.50
                Review/Data Analysis/Verification Work / Eileen Crummy


Service         Texas Permanent Injunction - 12/13/2022 - Communication or         1.00   $395.00    $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/13/2022 - Communication or         0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Robin
                Coleman


Service         Texas Permanent Injunction - 12/13/2022 - Communication or         0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/13/2022 - Communication or         2.25   $325.00    $731.25
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Darnyelle Cmil


Service         Texas Permanent Injunction - 12/13/2022 - Document                 3.50    $85.00    $297.50
                Review/Data Analysis/Verification Work / Madison Clapp


Service         Texas Permanent Injunction - 12/13/2022 - Communication or         1.00   $395.00    $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charlene Womack


Service         Texas Permanent Injunction - 12/13/2022 - Communication or         0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charlene Womack


Service         Texas Permanent Injunction - 12/13/2022 - Document                 0.25   $395.00     $98.75
                Review/Data Analysis/Verification Work / Charlene Womack


Service         Texas Permanent Injunction - 12/13/2022 - Document                 1.00   $395.00    $395.00
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/13/2022 - Communication or         0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/13/2022 - Communication or         1.00   $120.00    $120.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Natalie Nunez


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Service         Texas Permanent Injunction - 12/13/2022 - Communication or   0.75   $325.00    $243.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/13/2022 - Communication or   2.25   $325.00    $731.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/13/2022 - Document           4.00   $395.00   $1,580.00
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/13/2022 - Project            0.50   $395.00    $197.50
                Management & Planning / Charmaine Thomas


Service         Texas Permanent Injunction - 12/13/2022 - Document           3.00   $325.00    $975.00
                Review/Data Analysis/Verification Work / Darnyelle Cmil


Service         Texas Permanent Injunction - 12/13/2022 - Document           1.75   $325.00    $568.75
                Review/Data Analysis/Verification Work / Darnyelle Cmil


Service         Texas Permanent Injunction - 12/13/2022 - Communication or   0.50   $120.00     $60.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/13/2022 - Communication or   0.25   $395.00     $98.75
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/13/2022 - Document           1.50   $395.00    $592.50
                Review/Data Analysis/Verification Work / Eileen Crummy


Service         Texas Permanent Injunction - 12/13/2022 - Communication or   2.25   $325.00    $731.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Nicole Smith


Service         Texas Permanent Injunction - 12/13/2022 - Communication or   4.75   $325.00   $1,543.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Nicole Smith


Service         Texas Permanent Injunction - 12/13/2022 - Document           5.75   $395.00   $2,271.25
                Review/Data Analysis/Verification Work / Claudia Tahan


Service         Texas Permanent Injunction - 12/13/2022 - Communication or   1.25   $395.00    $493.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Claudia Tahan


Service         Texas Permanent Injunction - 12/13/2022 - Document           7.50   $395.00   $2,962.50
                Review/Data Analysis/Verification Work / Jody Drebes


Service         Texas Permanent Injunction - 12/13/2022 - Communication or   0.50   $395.00    $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto



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Service         Texas Permanent Injunction - 12/13/2022 - Communication or         1.00   $395.00    $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/13/2022 -                          0.50   $395.00    $197.50
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Megan Annitto


Service         Texas Permanent Injunction - 12/13/2022 - Communication or         1.00   $395.00    $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/13/2022 - Document                 4.00   $395.00   $1,580.00
                Review/Data Analysis/Verification Work / Megan Annitto


Service         Texas Permanent Injunction - 12/13/2022 - Document                 5.50   $120.00    $660.00
                Review/Data Analysis/Verification Work / Natalie Nunez


Service         Texas Permanent Injunction - 12/13/2022 - Communication or         1.00   $395.00    $395.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Michael Garr


Service         Texas Permanent Injunction - 12/13/2022 - Document                 6.00   $395.00   $2,370.00
                Review/Data Analysis/Verification Work / Michael Garr


Service         Texas Permanent Injunction - 12/13/2022 - Communication or         1.00   $395.00    $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff / Jenny
                Paveglio


Service         Texas Permanent Injunction - 12/13/2022 - Document                 5.00   $395.00   $1,975.00
                Review/Data Analysis/Verification Work / Jenny Paveglio


Service         Texas Permanent Injunction - 12/13/2022 - Document                 1.00   $395.00    $395.00
                Review/Data Analysis/Verification Work / Jenny Paveglio


Service         Texas Permanent Injunction - 12/13/2022 - Communication or         1.00   $395.00    $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Aileen Williams


Service         Texas Permanent Injunction - 12/13/2022 - Document                 6.00   $395.00   $2,370.00
                Review/Data Analysis/Verification Work / Aileen Williams


Service         Texas Permanent Injunction - 12/13/2022 - Communication or         0.25   $425.00    $106.25
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                Ryan


Service         Texas Permanent Injunction - 12/13/2022 - Document                 0.25   $425.00    $106.25
                Review/Data Analysis/Verification Work / Kevin Ryan


Service         Texas Permanent Injunction - 12/13/2022 - Communication or         0.50   $425.00    $212.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                Ryan


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Service         Texas Permanent Injunction - 12/13/2022 - Document                1.00   $425.00    $425.00
                Review/Data Analysis/Verification Work / Kevin Ryan


Service         Texas Permanent Injunction - 12/13/2022 - Document                7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Nadia Sexton


Service         Texas Permanent Injunction - 12/13/2022 - Document                5.50   $395.00   $2,172.50
                Review/Data Analysis/Verification Work / Charlene Womack


Service         Texas Permanent Injunction - 12/13/2022 - Report and              2.25   $425.00    $956.25
                Document Preparation / Kevin Ryan


Service         Texas Permanent Injunction - 12/13/2022 - Communication or        1.00   $395.00    $395.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Cassandra Poe-Johnson


Service         Texas Permanent Injunction - 12/13/2022 - Document                6.00   $395.00   $2,370.00
                Review/Data Analysis/Verification Work / Cassandra Poe-
                Johnson


Service         Texas Permanent Injunction - 12/13/2022 - Document                3.75   $325.00   $1,218.75
                Review/Data Analysis/Verification Work / Melea Weber


Service         Texas Permanent Injunction - 12/13/2022 - Document                0.25   $325.00     $81.25
                Review/Data Analysis/Verification Work / Melea Weber


Service         Texas Permanent Injunction - 12/13/2022 - Project                 0.25   $250.00     $62.50
                Management & Planning / June Simon


Service         Texas Permanent Injunction - 12/13/2022 - Document                1.00   $325.00    $325.00
                Review/Data Analysis/Verification Work / Tim Ross


Service         Texas Permanent Injunction - 12/13/2022 - Project                 1.00   $395.00    $395.00
                Management & Planning / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/13/2022 - Document                4.00   $395.00   $1,580.00
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/13/2022 - Communication or        1.25   $395.00    $493.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Jill
                Lefkowitz


Service         Texas Permanent Injunction - 12/13/2022 - Document                0.25   $395.00     $98.75
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/13/2022 - Document                0.50   $395.00    $197.50
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/13/2022 - Document                1.50   $250.00    $375.00
                Review/Data Analysis/Verification Work / Samantha Loewen




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Service         Texas Permanent Injunction - 12/13/2022 - Project                  0.50    $85.00     $42.50
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/13/2022 - Project                  2.00    $85.00    $170.00
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/13/2022 - Project                  5.00    $85.00    $425.00
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/14/2022 -                          0.25   $395.00     $98.75
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Megan Annitto


Service         Texas Permanent Injunction - 12/14/2022 - Document                 5.25   $395.00   $2,073.75
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/14/2022 - Communication or         0.75   $395.00    $296.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/14/2022 - Communication or         1.25   $395.00    $493.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/14/2022 - Communication or         1.00   $325.00    $325.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/14/2022 - Communication or         1.25   $395.00    $493.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Nadia
                Sexton


Service         Texas Permanent Injunction - 12/14/2022 - Communication or         1.25   $325.00    $406.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/14/2022 - Communication or         1.25   $120.00    $150.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/14/2022 - Communication or         1.25   $395.00    $493.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/14/2022 - Document                 2.50   $395.00    $987.50
                Review/Data Analysis/Verification Work / Jody Drebes


Service         Texas Permanent Injunction - 12/14/2022 - Communication or         1.25   $395.00    $493.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Jody
                Drebes




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Service         Texas Permanent Injunction - 12/14/2022 - Communication or   1.50   $325.00    $487.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Nicole Smith


Service         Texas Permanent Injunction - 12/14/2022 - Communication or   1.50   $325.00    $487.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Darnyelle Cmil


Service         Texas Permanent Injunction - 12/14/2022 - Document           5.50   $325.00   $1,787.50
                Review/Data Analysis/Verification Work / Darnyelle Cmil


Service         Texas Permanent Injunction - 12/14/2022 - Document           5.00   $395.00   $1,975.00
                Review/Data Analysis/Verification Work / Jenny Paveglio


Service         Texas Permanent Injunction - 12/14/2022 - Communication or   0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/14/2022 - Communication or   0.50   $395.00    $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/14/2022 - Communication or   1.25   $395.00    $493.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Claudia Tahan


Service         Texas Permanent Injunction - 12/14/2022 - Document           3.75   $395.00   $1,481.25
                Review/Data Analysis/Verification Work / Claudia Tahan


Service         Texas Permanent Injunction - 12/14/2022 - Project            0.75   $395.00    $296.25
                Management & Planning / Megan Annitto


Service         Texas Permanent Injunction - 12/14/2022 - Document           4.00   $395.00   $1,580.00
                Review/Data Analysis/Verification Work / Megan Annitto


Service         Texas Permanent Injunction - 12/14/2022 - Document           5.75   $395.00   $2,271.25
                Review/Data Analysis/Verification Work / Nadia Sexton


Service         Texas Permanent Injunction - 12/14/2022 - Communication or   1.25   $395.00    $493.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charlene Womack


Service         Texas Permanent Injunction - 12/14/2022 - Communication or   0.50   $120.00     $60.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/14/2022 - Document           5.25   $120.00    $630.00
                Review/Data Analysis/Verification Work / Natalie Nunez


Service         Texas Permanent Injunction - 12/14/2022 - Document           2.00   $395.00    $790.00
                Review/Data Analysis/Verification Work / Jenny Paveglio




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Service         Texas Permanent Injunction - 12/14/2022 - Document           5.50   $325.00   $1,787.50
                Review/Data Analysis/Verification Work / Nicole Smith


Service         Texas Permanent Injunction - 12/14/2022 - Report and         1.00   $425.00    $425.00
                Document Preparation / Kevin Ryan


Service         Texas Permanent Injunction - 12/14/2022 - Document           5.75   $395.00   $2,271.25
                Review/Data Analysis/Verification Work / Charlene Womack


Service         Texas Permanent Injunction - 12/14/2022 - Document           7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Robin Coleman


Service         Texas Permanent Injunction - 12/14/2022 - Communication or   1.25   $395.00    $493.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Aileen Williams


Service         Texas Permanent Injunction - 12/14/2022 - Document           5.75   $395.00   $2,271.25
                Review/Data Analysis/Verification Work / Aileen Williams


Service         Texas Permanent Injunction - 12/14/2022 - Document           1.50   $395.00    $592.50
                Review/Data Analysis/Verification Work / David Howard


Service         Texas Permanent Injunction - 12/14/2022 - Document           7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Cassandra Poe-
                Johnson


Service         Texas Permanent Injunction - 12/14/2022 - Document           4.75   $325.00   $1,543.75
                Review/Data Analysis/Verification Work / Melea Weber


Service         Texas Permanent Injunction - 12/14/2022 - Document           0.25   $395.00     $98.75
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/14/2022 - Project            0.50   $395.00    $197.50
                Management & Planning / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/14/2022 - Document           3.50   $395.00   $1,382.50
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/14/2022 - Project            1.00    $85.00     $85.00
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/14/2022 - Project            0.25   $325.00     $81.25
                Management & Planning / Tim Ross


Service         Texas Permanent Injunction - 12/14/2022 - Administration /   0.50   $175.00     $87.50
                Nelson Ortiz


Service         Texas Permanent Injunction - 12/15/2022 - Document           6.25    $85.00    $531.25
                Review/Data Analysis/Verification Work / Madison Clapp




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Service         Texas Permanent Injunction - 12/15/2022 - Communication or         0.25   $425.00    $106.25
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                Ryan


Service         Texas Permanent Injunction - 12/15/2022 - Communication or         0.50   $425.00    $212.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                Ryan


Service         Texas Permanent Injunction - 12/15/2022 - Communication or         0.75    $85.00     $63.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Madison Clapp


Service         Texas Permanent Injunction - 12/15/2022 - Communication or         0.50   $325.00    $162.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Nicole Smith


Service         Texas Permanent Injunction - 12/15/2022 - Document                 0.50   $325.00    $162.50
                Review/Data Analysis/Verification Work / Darnyelle Cmil


Service         Texas Permanent Injunction - 12/15/2022 - Document                 5.25   $325.00   $1,706.25
                Review/Data Analysis/Verification Work / Darnyelle Cmil


Service         Texas Permanent Injunction - 12/15/2022 - Document                 3.00   $395.00   $1,185.00
                Review/Data Analysis/Verification Work / Michael Garr


Service         Texas Permanent Injunction - 12/15/2022 - Communication or         1.00   $325.00    $325.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/15/2022 -                          0.50   $425.00    $212.50
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Kevin Ryan


Service         Texas Permanent Injunction - 12/15/2022 - Communication or         0.50   $395.00    $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Michael Garr


Service         Texas Permanent Injunction - 12/15/2022 - Document                 3.50   $395.00   $1,382.50
                Review/Data Analysis/Verification Work / Michael Garr


Service         Texas Permanent Injunction - 12/15/2022 - Document                 3.50   $395.00   $1,382.50
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/15/2022 - Communication or         1.00   $395.00    $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/15/2022 - Communication or         1.50   $395.00    $592.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas




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Service         Texas Permanent Injunction - 12/15/2022 - Document                  4.50   $325.00   $1,462.50
                Review/Data Analysis/Verification Work / Nicole Smith


Service         Texas Permanent Injunction - 12/15/2022 - Document                  7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Claudia Tahan


Service         Texas Permanent Injunction - 12/15/2022 - Document                  0.25   $395.00     $98.75
                Review/Data Analysis/Verification Work / Eileen Crummy


Service         Texas Permanent Injunction - 12/15/2022 - Communication or          1.00   $395.00    $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff / Eileen
                Crummy


Service         Texas Permanent Injunction - 12/15/2022 - Document                  4.50   $395.00   $1,777.50
                Review/Data Analysis/Verification Work / Jenny Paveglio


Service         Texas Permanent Injunction - 12/15/2022 - Document                  2.50   $395.00    $987.50
                Review/Data Analysis/Verification Work / Jenny Paveglio


Service         Texas Permanent Injunction - 12/15/2022 - Document                  7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Nadia Sexton


Service         Texas Permanent Injunction - 12/15/2022 - Document                  6.00   $395.00   $2,370.00
                Review/Data Analysis/Verification Work / Charlene Womack


Service         Texas Permanent Injunction - 12/15/2022 - Communication or          0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/15/2022 - Communication or          0.50   $395.00    $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/15/2022 - Communication or          1.00   $395.00    $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/15/2022 - Communication or          0.50   $395.00    $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charlene Womack


Service         Texas Permanent Injunction - 12/15/2022 -                           1.50   $395.00    $592.50
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Megan Annitto


Service         Texas Permanent Injunction - 12/15/2022 - Document                  2.25   $395.00    $888.75
                Review/Data Analysis/Verification Work / Megan Annitto


Service         Texas Permanent Injunction - 12/15/2022 - Communication or          1.25   $395.00    $493.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto



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Service         Texas Permanent Injunction - 12/15/2022 - Report and         1.75   $395.00    $691.25
                Document Preparation / Megan Annitto


Service         Texas Permanent Injunction - 12/15/2022 - Document           6.50   $395.00   $2,567.50
                Review/Data Analysis/Verification Work / Robin Coleman


Service         Texas Permanent Injunction - 12/15/2022 - Document           1.25   $395.00    $493.75
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/15/2022 - Document           7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Aileen Williams


Service         Texas Permanent Injunction - 12/15/2022 - Communication or   0.50   $120.00     $60.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/15/2022 - Communication or   0.75   $120.00     $90.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/15/2022 - Communication or   0.25   $120.00     $30.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/15/2022 - Document           5.50   $120.00    $660.00
                Review/Data Analysis/Verification Work / Natalie Nunez


Service         Texas Permanent Injunction - 12/15/2022 - Document           2.00   $395.00    $790.00
                Review/Data Analysis/Verification Work / David Howard


Service         Texas Permanent Injunction - 12/15/2022 - Document           7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Cassandra Poe-
                Johnson


Service         Texas Permanent Injunction - 12/15/2022 - Document           6.00   $325.00   $1,950.00
                Review/Data Analysis/Verification Work / Melea Weber


Service         Texas Permanent Injunction - 12/15/2022 - Document           3.00   $395.00   $1,185.00
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/15/2022 - Document           2.00   $395.00    $790.00
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/15/2022 - Document           0.25   $395.00     $98.75
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/15/2022 - Project            0.25   $250.00     $62.50
                Management & Planning / Samantha Loewen


Service         Texas Permanent Injunction - 12/15/2022 - Project            0.25   $325.00     $81.25
                Management & Planning / Hannah Shaw




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Service         Texas Permanent Injunction - 12/15/2022 - Document           0.25   $325.00    $81.25
                Review/Data Analysis/Verification Work / Tim Ross


Service         Texas Permanent Injunction - 12/15/2022 - Administration /   0.50   $175.00    $87.50
                Nelson Ortiz


Service         Texas Permanent Injunction - 12/16/2022 - Communication or   1.00   $325.00   $325.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/16/2022 - Document           6.00    $85.00   $510.00
                Review/Data Analysis/Verification Work / Madison Clapp


Service         Texas Permanent Injunction - 12/16/2022 - Communication or   0.50    $85.00    $42.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Madison Clapp


Service         Texas Permanent Injunction - 12/16/2022 - Communication or   1.00   $325.00   $325.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/16/2022 - Monitoring         0.25   $175.00    $43.75
                Administration, Document Control, Research, Analysis
                (Administrator Only) / Maria Lundgren


Service         Texas Permanent Injunction - 12/16/2022 - Communication or   1.00   $120.00   $120.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/16/2022 - Communication or   0.75   $120.00    $90.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/16/2022 - Document           1.50   $395.00   $592.50
                Review/Data Analysis/Verification Work / Claudia Tahan


Service         Texas Permanent Injunction - 12/16/2022 - Communication or   0.25   $395.00    $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/16/2022 - Communication or   0.50   $395.00   $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/16/2022 - Communication or   0.75   $395.00   $296.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/16/2022 - Communication or   0.75   $395.00   $296.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto




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Service         Texas Permanent Injunction - 12/16/2022 - Document                  3.25   $395.00   $1,283.75
                Review/Data Analysis/Verification Work / Megan Annitto


Service         Texas Permanent Injunction - 12/16/2022 - Report and                2.00   $395.00    $790.00
                Document Preparation / Megan Annitto


Service         Texas Permanent Injunction - 12/16/2022 - Communication or          0.50    $85.00     $42.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Madison Clapp


Service         Texas Permanent Injunction - 12/16/2022 - Document                  4.75   $395.00   $1,876.25
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/16/2022 - Communication or          0.75   $395.00    $296.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/16/2022 - Communication or          1.00   $325.00    $325.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Darnyelle Cmil


Service         Texas Permanent Injunction - 12/16/2022 - Communication or          0.50   $425.00    $212.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                Ryan


Service         Texas Permanent Injunction - 12/16/2022 - Document                  6.50   $395.00   $2,567.50
                Review/Data Analysis/Verification Work / Aileen Williams


Service         Texas Permanent Injunction - 12/16/2022 - Document                  6.50   $395.00   $2,567.50
                Review/Data Analysis/Verification Work / Michael Garr


Service         Texas Permanent Injunction - 12/16/2022 - Communication or          0.75   $120.00     $90.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/16/2022 - Document                  4.00   $120.00    $480.00
                Review/Data Analysis/Verification Work / Natalie Nunez


Service         Texas Permanent Injunction - 12/16/2022 - Communication or          0.50   $395.00    $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Lisa
                Taylor


Service         Texas Permanent Injunction - 12/16/2022 - Communication or          0.50   $395.00    $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Eileen
                Crummy


Service         Texas Permanent Injunction - 12/16/2022 - Project                   0.75   $395.00    $296.25
                Management & Planning / Charmaine Thomas


Service         Texas Permanent Injunction - 12/16/2022 - Communication or          1.50   $395.00    $592.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Jenny Paveglio



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Service         Texas Permanent Injunction - 12/16/2022 - Document           3.50   $395.00   $1,382.50
                Review/Data Analysis/Verification Work / Jenny Paveglio


Service         Texas Permanent Injunction - 12/16/2022 - Communication or   0.50   $395.00    $197.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Jenny Paveglio


Service         Texas Permanent Injunction - 12/16/2022 - Document           1.50   $395.00    $592.50
                Review/Data Analysis/Verification Work / Jenny Paveglio


Service         Texas Permanent Injunction - 12/16/2022 - Report and         3.75   $425.00   $1,593.75
                Document Preparation / Kevin Ryan


Service         Texas Permanent Injunction - 12/16/2022 - Project            0.25   $395.00     $98.75
                Management & Planning / Lisa Taylor


Service         Texas Permanent Injunction - 12/16/2022 - Document           1.25   $395.00    $493.75
                Review/Data Analysis/Verification Work / David Howard


Service         Texas Permanent Injunction - 12/16/2022 - Communication or   1.50   $325.00    $487.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Nicole Smith


Service         Texas Permanent Injunction - 12/16/2022 - Document           5.00   $325.00   $1,625.00
                Review/Data Analysis/Verification Work / Nicole Smith


Service         Texas Permanent Injunction - 12/16/2022 - Document           5.50   $325.00   $1,787.50
                Review/Data Analysis/Verification Work / Darnyelle Cmil


Service         Texas Permanent Injunction - 12/16/2022 - Communication or   0.50   $325.00    $162.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/16/2022 - Document           4.25   $325.00   $1,381.25
                Review/Data Analysis/Verification Work / Melea Weber


Service         Texas Permanent Injunction - 12/16/2022 - Document           1.50   $395.00    $592.50
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/16/2022 - Document           0.75   $395.00    $296.25
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/17/2022 - Report and         2.75   $425.00   $1,168.75
                Document Preparation / Kevin Ryan


Service         Texas Permanent Injunction - 12/18/2022 - Document           1.25   $395.00    $493.75
                Review/Data Analysis/Verification Work / David Howard


Service         Texas Permanent Injunction - 12/18/2022 - Document           0.50   $425.00    $212.50
                Review/Data Analysis/Verification Work / Kevin Ryan




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Service         Texas Permanent Injunction - 12/18/2022 - Document                 2.50   $395.00   $987.50
                Review/Data Analysis/Verification Work / Diane Scott


Service         Texas Permanent Injunction - 12/18/2022 - Communication or         0.50   $395.00   $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Diane
                Scott


Service         Texas Permanent Injunction - 12/19/2022 - Communication or         0.75    $85.00    $63.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Madison Clapp


Service         Texas Permanent Injunction - 12/19/2022 -                          0.75   $120.00    $90.00
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/19/2022 -                          0.75   $325.00   $243.75
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Nicole Smith


Service         Texas Permanent Injunction - 12/19/2022 - Communication or         0.75    $85.00    $63.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Madison Clapp


Service         Texas Permanent Injunction - 12/19/2022 -                          0.75   $395.00   $296.25
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/19/2022 - Communication or         0.75   $395.00   $296.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/19/2022 - Communication or         0.75   $395.00   $296.25
                Meeting with the Court, a party, Monitor/Monitors' Staff / Robin
                Coleman


Service         Texas Permanent Injunction - 12/19/2022 -                          0.75   $395.00   $296.25
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Robin Coleman


Service         Texas Permanent Injunction - 12/19/2022 - Communication or         1.50   $325.00   $487.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/19/2022 - Communication or         1.25   $120.00   $150.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/19/2022 - Document                 4.75    $85.00   $403.75
                Review/Data Analysis/Verification Work / Madison Clapp



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Service         Texas Permanent Injunction - 12/19/2022 - Communication or    0.75    $85.00     $63.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Madison Clapp


Service         Texas Permanent Injunction - 12/19/2022 - Communication or    1.00   $325.00    $325.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Nicole Smith


Service         Texas Permanent Injunction - 12/19/2022 - Document            2.75   $325.00    $893.75
                Review/Data Analysis/Verification Work / Nicole Smith


Service         Texas Permanent Injunction - 12/19/2022 -                     0.75   $395.00    $296.25
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Claudia Tahan


Service         Texas Permanent Injunction - 12/19/2022 -                     0.50   $395.00    $197.50
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Claudia Tahan


Service         Texas Permanent Injunction - 12/19/2022 - Document            4.00   $395.00   $1,580.00
                Review/Data Analysis/Verification Work / Claudia Tahan


Service         Texas Permanent Injunction - 12/19/2022 - Document            4.50   $395.00   $1,777.50
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/19/2022 - Communication or    0.75   $120.00     $90.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/19/2022 - Communication or    0.25   $120.00     $30.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/19/2022 - Document            4.00   $120.00    $480.00
                Review/Data Analysis/Verification Work / Natalie Nunez


Service         Texas Permanent Injunction - 12/19/2022 - Document            1.75   $395.00    $691.25
                Review/Data Analysis/Verification Work / Carlette Mack


Service         Texas Permanent Injunction - 12/19/2022 - Document            0.25   $395.00     $98.75
                Review/Data Analysis/Verification Work / Eileen Crummy


Service         Texas Permanent Injunction - 12/19/2022 - Document            7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Charlene Womack


Service         Texas Permanent Injunction - 12/19/2022 - Document            7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Aileen Williams


Service         Texas Permanent Injunction - 12/19/2022 - Document            6.25   $395.00   $2,468.75
                Review/Data Analysis/Verification Work / Nadia Sexton



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Service         Texas Permanent Injunction - 12/19/2022 - Document                 5.50   $395.00   $2,172.50
                Review/Data Analysis/Verification Work / Robin Coleman


Service         Texas Permanent Injunction - 12/19/2022 - Project                  1.25   $395.00    $493.75
                Management & Planning / Charmaine Thomas


Service         Texas Permanent Injunction - 12/19/2022 - Communication or         1.50   $395.00    $592.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/19/2022 - Communication or         1.50   $395.00    $592.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/19/2022 - Communication or         0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/19/2022 - Report and               2.00   $395.00    $790.00
                Document Preparation / Megan Annitto


Service         Texas Permanent Injunction - 12/19/2022 - Project                  0.50   $425.00    $212.50
                Management & Planning / Kevin Ryan


Service         Texas Permanent Injunction - 12/19/2022 - Report and               3.50   $425.00   $1,487.50
                Document Preparation / Kevin Ryan


Service         Texas Permanent Injunction - 12/19/2022 -                          0.75   $395.00    $296.25
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Nadia Sexton


Service         Texas Permanent Injunction - 12/19/2022 - Communication or         1.00   $325.00    $325.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Darnyelle Cmil


Service         Texas Permanent Injunction - 12/19/2022 - Document                 6.00   $325.00   $1,950.00
                Review/Data Analysis/Verification Work / Darnyelle Cmil


Service         Texas Permanent Injunction - 12/19/2022 -                          0.50   $395.00    $197.50
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                David Howard


Service         Texas Permanent Injunction - 12/19/2022 - Communication or         1.00   $395.00    $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff / David
                Howard


Service         Texas Permanent Injunction - 12/19/2022 - Document                 1.25   $395.00    $493.75
                Review/Data Analysis/Verification Work / David Howard


Service         Texas Permanent Injunction - 12/19/2022 - Document                 5.50   $325.00   $1,787.50
                Review/Data Analysis/Verification Work / Melea Weber


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Service         Texas Permanent Injunction - 12/19/2022 - Document                 2.00   $395.00    $790.00
                Review/Data Analysis/Verification Work / Megan Annitto


Service         Texas Permanent Injunction - 12/19/2022 - Communication or         0.50   $395.00    $197.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                Scott


Service         Texas Permanent Injunction - 12/19/2022 -                          0.75   $395.00    $296.25
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Diane Scott


Service         Texas Permanent Injunction - 12/19/2022 - Communication or         1.00   $395.00    $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff / Diane
                Scott


Service         Texas Permanent Injunction - 12/19/2022 - Communication or         1.50   $395.00    $592.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Diane
                Scott


Service         Texas Permanent Injunction - 12/19/2022 - Document                 4.25   $395.00   $1,678.75
                Review/Data Analysis/Verification Work / Diane Scott


Service         Texas Permanent Injunction - 12/19/2022 - Project                  0.50   $250.00    $125.00
                Management & Planning / June Simon


Service         Texas Permanent Injunction - 12/19/2022 - Project                  0.50   $250.00    $125.00
                Management & Planning / June Simon


Service         Texas Permanent Injunction - 12/19/2022 -                          0.50   $250.00    $125.00
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges to barriers to data and information /
                June Simon


Service         Texas Permanent Injunction - 12/19/2022 - Project                  3.00   $395.00   $1,185.00
                Management & Planning / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/19/2022 - Document                 3.00   $395.00   $1,185.00
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/19/2022 - Project                  0.50   $250.00    $125.00
                Management & Planning / Samantha Loewen


Service         Texas Permanent Injunction - 12/19/2022 - Project                  0.50   $250.00    $125.00
                Management & Planning / Samantha Loewen


Service         Texas Permanent Injunction - 12/19/2022 - Project                  1.00    $85.00     $85.00
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/19/2022 - Project                  1.00    $85.00     $85.00
                Management & Planning / Zsa Zsa Toms




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Service         Texas Permanent Injunction - 12/20/2022 - Communication or         1.00    $85.00     $85.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Madison Clapp


Service         Texas Permanent Injunction - 12/20/2022 -                          1.25   $395.00    $493.75
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Aileen Williams


Service         Texas Permanent Injunction - 12/20/2022 -                          1.25   $325.00    $406.25
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Melea Weber


Service         Texas Permanent Injunction - 12/20/2022 - Document                 5.50    $85.00    $467.50
                Review/Data Analysis/Verification Work / Madison Clapp


Service         Texas Permanent Injunction - 12/20/2022 - Communication or         0.50   $395.00    $197.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Nadia
                Sexton


Service         Texas Permanent Injunction - 12/20/2022 - Document                 7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Robin Coleman


Service         Texas Permanent Injunction - 12/20/2022 -                          1.25   $395.00    $493.75
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/20/2022 - Communication or         1.25   $395.00    $493.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/20/2022 - Communication or         0.75   $395.00    $296.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/20/2022 - Document                 3.50   $395.00   $1,382.50
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/20/2022 - Communication or         0.50    $85.00     $42.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Madison Clapp


Service         Texas Permanent Injunction - 12/20/2022 - Communication or         1.00   $395.00    $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/20/2022 - Communication or         0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto




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Service         Texas Permanent Injunction - 12/20/2022 - Communication or         0.75   $395.00    $296.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/20/2022 - Communication or         0.50   $395.00    $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/20/2022 - Report and               2.50   $395.00    $987.50
                Document Preparation / Megan Annitto


Service         Texas Permanent Injunction - 12/20/2022 -                          1.25   $120.00    $150.00
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/20/2022 - Communication or         0.50   $120.00     $60.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/20/2022 - Communication or         0.50   $120.00     $60.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/20/2022 - Communication or         2.00   $395.00    $790.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Claudia Tahan


Service         Texas Permanent Injunction - 12/20/2022 - Document                 5.00   $395.00   $1,975.00
                Review/Data Analysis/Verification Work / Claudia Tahan


Service         Texas Permanent Injunction - 12/20/2022 - Communication or         0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/20/2022 - Project                  0.50   $395.00    $197.50
                Management & Planning / Charmaine Thomas


Service         Texas Permanent Injunction - 12/20/2022 - Document                 4.75   $120.00    $570.00
                Review/Data Analysis/Verification Work / Natalie Nunez


Service         Texas Permanent Injunction - 12/20/2022 - Communication or         1.25   $425.00    $531.25
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                Ryan


Service         Texas Permanent Injunction - 12/20/2022 - Report and               0.50   $425.00    $212.50
                Document Preparation / Kevin Ryan


Service         Texas Permanent Injunction - 12/20/2022 -                          1.25   $395.00    $493.75
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Charlene Womack




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Service         Texas Permanent Injunction - 12/20/2022 - Document                 5.75   $395.00   $2,271.25
                Review/Data Analysis/Verification Work / Charlene Womack


Service         Texas Permanent Injunction - 12/20/2022 - Communication or         1.25   $395.00    $493.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Aileen Williams


Service         Texas Permanent Injunction - 12/20/2022 - Document                 4.50   $395.00   $1,777.50
                Review/Data Analysis/Verification Work / Aileen Williams


Service         Texas Permanent Injunction - 12/20/2022 - Communication or         0.75   $325.00    $243.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/20/2022 -                          1.25   $395.00    $493.75
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Jody Drebes


Service         Texas Permanent Injunction - 12/20/2022 -                          0.25   $395.00     $98.75
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Jody Drebes


Service         Texas Permanent Injunction - 12/20/2022 - Document                 6.00   $395.00   $2,370.00
                Review/Data Analysis/Verification Work / Jody Drebes


Service         Texas Permanent Injunction - 12/20/2022 - Document                 6.50   $395.00   $2,567.50
                Review/Data Analysis/Verification Work / Nadia Sexton


Service         Texas Permanent Injunction - 12/20/2022 - Communication or         1.25   $395.00    $493.75
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Cassandra Poe-Johnson


Service         Texas Permanent Injunction - 12/20/2022 -                          1.00   $395.00    $395.00
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Jenny Paveglio


Service         Texas Permanent Injunction - 12/20/2022 - Communication or         1.00   $395.00    $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff / Jenny
                Paveglio


Service         Texas Permanent Injunction - 12/20/2022 - Document                 3.50   $395.00   $1,382.50
                Review/Data Analysis/Verification Work / Jenny Paveglio


Service         Texas Permanent Injunction - 12/20/2022 - Document                 1.50   $395.00    $592.50
                Review/Data Analysis/Verification Work / Jenny Paveglio


Service         Texas Permanent Injunction - 12/20/2022 -                          1.25   $395.00    $493.75
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Michael Garr


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Service         Texas Permanent Injunction - 12/20/2022 - Document                 5.75   $395.00   $2,271.25
                Review/Data Analysis/Verification Work / Michael Garr


Service         Texas Permanent Injunction - 12/20/2022 - Document                 7.00   $325.00   $2,275.00
                Review/Data Analysis/Verification Work / Darnyelle Cmil


Service         Texas Permanent Injunction - 12/20/2022 - Document                 5.75   $395.00   $2,271.25
                Review/Data Analysis/Verification Work / Cassandra Poe-
                Johnson


Service         Texas Permanent Injunction - 12/20/2022 - Document                 5.00   $325.00   $1,625.00
                Review/Data Analysis/Verification Work / Melea Weber


Service         Texas Permanent Injunction - 12/20/2022 -                          0.25   $395.00     $98.75
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Megan Annitto


Service         Texas Permanent Injunction - 12/20/2022 - Project                  1.00   $395.00    $395.00
                Management & Planning / Megan Annitto


Service         Texas Permanent Injunction - 12/20/2022 - Document                 1.00   $395.00    $395.00
                Review/Data Analysis/Verification Work / Megan Annitto


Service         Texas Permanent Injunction - 12/20/2022 - Communication or         0.50   $395.00    $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Carlette Mack


Service         Texas Permanent Injunction - 12/20/2022 - Project                  0.75   $395.00    $296.25
                Management & Planning / Diane Scott


Service         Texas Permanent Injunction - 12/20/2022 - Document                 5.25   $395.00   $2,073.75
                Review/Data Analysis/Verification Work / Diane Scott


Service         Texas Permanent Injunction - 12/20/2022 - Communication or         0.50   $395.00    $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Diane
                Scott


Service         Texas Permanent Injunction - 12/20/2022 - Project                  0.75   $250.00    $187.50
                Management & Planning / June Simon


Service         Texas Permanent Injunction - 12/20/2022 - Project                  0.50   $250.00    $125.00
                Management & Planning / June Simon


Service         Texas Permanent Injunction - 12/20/2022 - Project                  2.75   $395.00   $1,086.25
                Management & Planning / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/20/2022 - Communication or         0.50   $395.00    $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Jill
                Lefkowitz




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Service         Texas Permanent Injunction - 12/20/2022 - Document           2.75   $395.00   $1,086.25
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/20/2022 - Project            1.50    $85.00    $127.50
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/20/2022 - Project            1.00    $85.00     $85.00
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/21/2022 - Project            0.25   $395.00     $98.75
                Management & Planning / Lisa Taylor


Service         Texas Permanent Injunction - 12/21/2022 - Communication or   0.50    $85.00     $42.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Madison Clapp


Service         Texas Permanent Injunction - 12/21/2022 - Document           1.50   $395.00    $592.50
                Review/Data Analysis/Verification Work / Jody Drebes


Service         Texas Permanent Injunction - 12/21/2022 - Communication or   2.00    $85.00    $170.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Madison Clapp


Service         Texas Permanent Injunction - 12/21/2022 - Document           6.75   $395.00   $2,666.25
                Review/Data Analysis/Verification Work / Robin Coleman


Service         Texas Permanent Injunction - 12/21/2022 - Communication or   0.50    $85.00     $42.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Madison Clapp


Service         Texas Permanent Injunction - 12/21/2022 - Document           5.00   $395.00   $1,975.00
                Review/Data Analysis/Verification Work / Claudia Tahan


Service         Texas Permanent Injunction - 12/21/2022 - Communication or   1.25   $325.00    $406.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/21/2022 - Project            2.00   $395.00    $790.00
                Management & Planning / Charmaine Thomas


Service         Texas Permanent Injunction - 12/21/2022 - Communication or   1.25   $395.00    $493.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/21/2022 - Document           2.75   $395.00   $1,086.25
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/21/2022 - Communication or   0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas




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Service         Texas Permanent Injunction - 12/21/2022 - Communication or         1.25   $395.00    $493.75
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Cassandra Poe-Johnson


Service         Texas Permanent Injunction - 12/21/2022 - Document                 7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Cheryl MacDougall


Service         Texas Permanent Injunction - 12/21/2022 - Project                  0.50   $425.00    $212.50
                Management & Planning / Kevin Ryan


Service         Texas Permanent Injunction - 12/21/2022 - Document                 3.50   $325.00   $1,137.50
                Review/Data Analysis/Verification Work / Darnyelle Cmil


Service         Texas Permanent Injunction - 12/21/2022 - Document                 7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Nadia Sexton


Service         Texas Permanent Injunction - 12/21/2022 - Communication or         1.25   $395.00    $493.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Jenny
                Paveglio


Service         Texas Permanent Injunction - 12/21/2022 - Document                 5.75   $395.00   $2,271.25
                Review/Data Analysis/Verification Work / Jenny Paveglio


Service         Texas Permanent Injunction - 12/21/2022 - Communication or         0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Robin
                Coleman


Service         Texas Permanent Injunction - 12/21/2022 - Communication or         1.25   $120.00    $150.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/21/2022 - Communication or         0.50   $120.00     $60.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/21/2022 - Communication or         0.25   $120.00     $30.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 12/21/2022 - Document                 5.00   $120.00    $600.00
                Review/Data Analysis/Verification Work / Natalie Nunez


Service         Texas Permanent Injunction - 12/21/2022 - Document                 5.75   $395.00   $2,271.25
                Review/Data Analysis/Verification Work / Cassandra Poe-
                Johnson


Service         Texas Permanent Injunction - 12/21/2022 - Document                 1.50   $395.00    $592.50
                Review/Data Analysis/Verification Work / David Howard


Service         Texas Permanent Injunction - 12/21/2022 - Document                 7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Aileen Williams




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Service         Texas Permanent Injunction - 12/21/2022 - Communication or    0.75   $325.00    $243.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/21/2022 - Communication or    0.25   $325.00     $81.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/21/2022 - Document            4.75   $325.00   $1,543.75
                Review/Data Analysis/Verification Work / Melea Weber


Service         Texas Permanent Injunction - 12/21/2022 - Communication or    0.75   $395.00    $296.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/21/2022 -                     0.50   $395.00    $197.50
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Megan Annitto


Service         Texas Permanent Injunction - 12/21/2022 - Document            5.00   $395.00   $1,975.00
                Review/Data Analysis/Verification Work / Megan Annitto


Service         Texas Permanent Injunction - 12/21/2022 - Project             0.50   $395.00    $197.50
                Management & Planning / Megan Annitto


Service         Texas Permanent Injunction - 12/21/2022 - Document            0.50   $395.00    $197.50
                Review/Data Analysis/Verification Work / Diane Scott


Service         Texas Permanent Injunction - 12/21/2022 - Report and          0.50   $250.00    $125.00
                Document Preparation / June Simon


Service         Texas Permanent Injunction - 12/21/2022 - Document            4.50   $395.00   $1,777.50
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/21/2022 - Document            0.50   $395.00    $197.50
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/21/2022 - Project             0.50   $250.00    $125.00
                Management & Planning / Samantha Loewen


Service         Texas Permanent Injunction - 12/21/2022 - Project             1.00    $85.00     $85.00
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/22/2022 - Document            7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Michael Garr


Service         Texas Permanent Injunction - 12/22/2022 - Document            3.50   $325.00   $1,137.50
                Review/Data Analysis/Verification Work / Darnyelle Cmil


Service         Texas Permanent Injunction - 12/22/2022 - Document            3.75   $395.00   $1,481.25
                Review/Data Analysis/Verification Work / Claudia Tahan



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Service         Texas Permanent Injunction - 12/22/2022 - Document                 7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Jenny Paveglio


Service         Texas Permanent Injunction - 12/22/2022 - Document                 5.50   $120.00    $660.00
                Review/Data Analysis/Verification Work / Natalie Nunez


Service         Texas Permanent Injunction - 12/22/2022 - Document                 1.75   $425.00    $743.75
                Review/Data Analysis/Verification Work / Kevin Ryan


Service         Texas Permanent Injunction - 12/22/2022 - Document                 7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Nadia Sexton


Service         Texas Permanent Injunction - 12/22/2022 - Communication or         0.50   $395.00    $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / David
                Howard


Service         Texas Permanent Injunction - 12/22/2022 - Document                 1.00   $395.00    $395.00
                Review/Data Analysis/Verification Work / David Howard


Service         Texas Permanent Injunction - 12/22/2022 - Document                 3.00   $325.00    $975.00
                Review/Data Analysis/Verification Work / Melea Weber


Service         Texas Permanent Injunction - 12/22/2022 -                          0.50   $395.00    $197.50
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Carlette Mack


Service         Texas Permanent Injunction - 12/22/2022 - Document                 5.25   $395.00   $2,073.75
                Review/Data Analysis/Verification Work / Diane Scott


Service         Texas Permanent Injunction - 12/22/2022 - Project                  0.50   $250.00    $125.00
                Management & Planning / Samantha Loewen


Service         Texas Permanent Injunction - 12/22/2022 - Report and               0.50   $250.00    $125.00
                Document Preparation / June Simon


Service         Texas Permanent Injunction - 12/22/2022 - Document                 3.50   $395.00   $1,382.50
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/22/2022 - Document                 2.50   $395.00    $987.50
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/22/2022 - Project                  1.00    $85.00     $85.00
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/22/2022 - Project                  7.00   $395.00   $2,765.00
                Management & Planning / Megan Annitto


Service         Texas Permanent Injunction - 12/22/2022 - Administration /         0.50   $175.00     $87.50
                Nelson Ortiz




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Service         Texas Permanent Injunction - 12/23/2022 - Project                  0.25   $425.00    $106.25
                Management & Planning / Kevin Ryan


Service         Texas Permanent Injunction - 12/23/2022 - Document                 0.75   $425.00    $318.75
                Review/Data Analysis/Verification Work / Kevin Ryan


Service         Texas Permanent Injunction - 12/23/2022 - Document                 1.00   $395.00    $395.00
                Review/Data Analysis/Verification Work / David Howard


Service         Texas Permanent Injunction - 12/23/2022 - Document                 1.00   $395.00    $395.00
                Review/Data Analysis/Verification Work / David Howard


Service         Texas Permanent Injunction - 12/23/2022 - Report and               1.00   $425.00    $425.00
                Document Preparation / Kevin Ryan


Service         Texas Permanent Injunction - 12/23/2022 - Communication or         0.25   $425.00    $106.25
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                Ryan


Service         Texas Permanent Injunction - 12/23/2022 - Document                 6.75   $395.00   $2,666.25
                Review/Data Analysis/Verification Work / Diane Scott


Service         Texas Permanent Injunction - 12/23/2022 - Project                  0.25   $250.00     $62.50
                Management & Planning / June Simon


Service         Texas Permanent Injunction - 12/23/2022 - Report and               0.25   $250.00     $62.50
                Document Preparation / June Simon


Service         Texas Permanent Injunction - 12/23/2022 - Report and               0.50   $250.00    $125.00
                Document Preparation / June Simon


Service         Texas Permanent Injunction - 12/23/2022 - Document                 3.50   $395.00   $1,382.50
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/23/2022 - Report and               3.00   $250.00    $750.00
                Document Preparation / June Simon


Service         Texas Permanent Injunction - 12/24/2022 - Document                 5.75   $395.00   $2,271.25
                Review/Data Analysis/Verification Work / Diane Scott


Service         Texas Permanent Injunction - 12/26/2022 - Document                 4.00   $395.00   $1,580.00
                Review/Data Analysis/Verification Work / Diane Scott


Service         Texas Permanent Injunction - 12/27/2022 - Document                 0.50   $425.00    $212.50
                Review/Data Analysis/Verification Work / Kevin Ryan


Service         Texas Permanent Injunction - 12/27/2022 - Document                 0.75   $425.00    $318.75
                Review/Data Analysis/Verification Work / Kevin Ryan


Service         Texas Permanent Injunction - 12/27/2022 - Communication or         0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Jenny
                Paveglio


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Service         Texas Permanent Injunction - 12/27/2022 - Communication or   0.50    $85.00     $42.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Madison Clapp


Service         Texas Permanent Injunction - 12/27/2022 - Document           6.50   $325.00   $2,112.50
                Review/Data Analysis/Verification Work / Melea Weber


Service         Texas Permanent Injunction - 12/27/2022 - Communication or   0.50   $325.00    $162.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/27/2022 - Document           6.50    $85.00    $552.50
                Review/Data Analysis/Verification Work / Madison Clapp


Service         Texas Permanent Injunction - 12/27/2022 - Document           5.00   $395.00   $1,975.00
                Review/Data Analysis/Verification Work / Claudia Tahan


Service         Texas Permanent Injunction - 12/27/2022 - Project            0.75   $395.00    $296.25
                Management & Planning / Lisa Taylor


Service         Texas Permanent Injunction - 12/27/2022 - Document           6.75   $395.00   $2,666.25
                Review/Data Analysis/Verification Work / Jenny Paveglio


Service         Texas Permanent Injunction - 12/27/2022 - Document           3.00   $395.00   $1,185.00
                Review/Data Analysis/Verification Work / Carlette Mack


Service         Texas Permanent Injunction - 12/27/2022 - Document           7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Aileen Williams


Service         Texas Permanent Injunction - 12/27/2022 - Document           7.00   $395.00   $2,765.00
                Review/Data Analysis/Verification Work / Cassandra Poe-
                Johnson


Service         Texas Permanent Injunction - 12/27/2022 - Document           3.75   $395.00   $1,481.25
                Review/Data Analysis/Verification Work / Diane Scott


Service         Texas Permanent Injunction - 12/27/2022 - Report and         1.00   $250.00    $250.00
                Document Preparation / June Simon


Service         Texas Permanent Injunction - 12/27/2022 - Report and         0.25   $250.00     $62.50
                Document Preparation / June Simon


Service         Texas Permanent Injunction - 12/27/2022 - Document           1.00   $250.00    $250.00
                Review/Data Analysis/Verification Work / June Simon


Service         Texas Permanent Injunction - 12/27/2022 - Document           0.50   $325.00    $162.50
                Review/Data Analysis/Verification Work / Tim Ross


Service         Texas Permanent Injunction - 12/27/2022 - Document           0.50   $325.00    $162.50
                Review/Data Analysis/Verification Work / Tim Ross




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Service         Texas Permanent Injunction - 12/27/2022 - Project            0.50   $325.00    $162.50
                Management & Planning / Tim Ross


Service         Texas Permanent Injunction - 12/27/2022 - Document           1.00   $395.00    $395.00
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/27/2022 - Document           2.25   $395.00    $888.75
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/27/2022 - Document           0.50   $395.00    $197.50
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/27/2022 - Project            0.50   $395.00    $197.50
                Management & Planning / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/27/2022 - Project            1.00    $85.00     $85.00
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/27/2022 - Project            7.00   $395.00   $2,765.00
                Management & Planning / Megan Annitto


Service         Texas Permanent Injunction - 12/28/2022 - Document           5.50   $395.00   $2,172.50
                Review/Data Analysis/Verification Work / Claudia Tahan


Service         Texas Permanent Injunction - 12/28/2022 - Communication or   1.50   $395.00    $592.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Claudia Tahan


Service         Texas Permanent Injunction - 12/28/2022 - Document           5.75   $395.00   $2,271.25
                Review/Data Analysis/Verification Work / Aileen Williams


Service         Texas Permanent Injunction - 12/28/2022 - Document           2.00   $395.00    $790.00
                Review/Data Analysis/Verification Work / Megan Annitto


Service         Texas Permanent Injunction - 12/28/2022 - Project            1.00   $395.00    $395.00
                Management & Planning / Megan Annitto


Service         Texas Permanent Injunction - 12/28/2022 - Project            1.25   $395.00    $493.75
                Management & Planning / Charmaine Thomas


Service         Texas Permanent Injunction - 12/28/2022 - Communication or   1.25    $85.00    $106.25
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Madison Clapp


Service         Texas Permanent Injunction - 12/28/2022 - Communication or   1.75    $85.00    $148.75
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Madison Clapp


Service         Texas Permanent Injunction - 12/28/2022 - Document           4.00    $85.00    $340.00
                Review/Data Analysis/Verification Work / Madison Clapp




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Service         Texas Permanent Injunction - 12/28/2022 - Communication or   2.00   $325.00    $650.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/28/2022 - Document           3.00   $395.00   $1,185.00
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/28/2022 - Communication or   0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 12/28/2022 - Document           2.00   $395.00    $790.00
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/28/2022 - Document           0.50   $395.00    $197.50
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/28/2022 - Communication or   2.25   $250.00    $562.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Gianna Maita-Edwards


Service         Texas Permanent Injunction - 12/28/2022 - Communication or   2.00   $250.00    $500.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Gianna Maita-Edwards


Service         Texas Permanent Injunction - 12/28/2022 - Communication or   1.75   $250.00    $437.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Gianna Maita-Edwards


Service         Texas Permanent Injunction - 12/28/2022 - Document           1.00   $250.00    $250.00
                Review/Data Analysis/Verification Work / Gianna Maita-
                Edwards


Service         Texas Permanent Injunction - 12/28/2022 - Document           4.00   $395.00   $1,580.00
                Review/Data Analysis/Verification Work / Carlette Mack


Service         Texas Permanent Injunction - 12/28/2022 - Document           0.25   $395.00     $98.75
                Review/Data Analysis/Verification Work / Eileen Crummy


Service         Texas Permanent Injunction - 12/28/2022 - Communication or   1.25   $395.00    $493.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Cheryl MacDougall


Service         Texas Permanent Injunction - 12/28/2022 - Document           1.00   $395.00    $395.00
                Review/Data Analysis/Verification Work / Cheryl MacDougall


Service         Texas Permanent Injunction - 12/28/2022 - Document           4.00   $395.00   $1,580.00
                Review/Data Analysis/Verification Work / Cheryl MacDougall


Service         Texas Permanent Injunction - 12/28/2022 - Document           0.75   $395.00    $296.25
                Review/Data Analysis/Verification Work / Cheryl MacDougall




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Service         Texas Permanent Injunction - 12/28/2022 - Communication or        1.25   $395.00    $493.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Aileen Williams


Service         Texas Permanent Injunction - 12/28/2022 - Communication or        0.50   $325.00    $162.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/28/2022 - Document                7.00   $325.00   $2,275.00
                Review/Data Analysis/Verification Work / Darnyelle Cmil


Service         Texas Permanent Injunction - 12/28/2022 - Communication or        0.50   $395.00    $197.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Cassandra Poe-Johnson


Service         Texas Permanent Injunction - 12/28/2022 - Document                6.50   $395.00   $2,567.50
                Review/Data Analysis/Verification Work / Cassandra Poe-
                Johnson


Service         Texas Permanent Injunction - 12/28/2022 - Document                4.50   $325.00   $1,462.50
                Review/Data Analysis/Verification Work / Melea Weber


Service         Texas Permanent Injunction - 12/28/2022 - Project                 0.50   $395.00    $197.50
                Management & Planning / Lisa Taylor


Service         Texas Permanent Injunction - 12/28/2022 - Communication or        1.25   $395.00    $493.75
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Jody
                Drebes


Service         Texas Permanent Injunction - 12/28/2022 - Document                0.50   $395.00    $197.50
                Review/Data Analysis/Verification Work / Jody Drebes


Service         Texas Permanent Injunction - 12/28/2022 - Document                1.75   $395.00    $691.25
                Review/Data Analysis/Verification Work / Jody Drebes


Service         Texas Permanent Injunction - 12/28/2022 - Document                4.25   $395.00   $1,678.75
                Review/Data Analysis/Verification Work / Diane Scott


Service         Texas Permanent Injunction - 12/28/2022 - Document                3.75   $395.00   $1,481.25
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/28/2022 - Document                2.00   $395.00    $790.00
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/28/2022 - Communication or        0.25   $395.00     $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Jill
                Lefkowitz


Service         Texas Permanent Injunction - 12/28/2022 - Project                 1.00   $250.00    $250.00
                Management & Planning / Samantha Loewen




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Service         Texas Permanent Injunction - 12/28/2022 - Project                  1.50    $85.00    $127.50
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/28/2022 - Project                  4.00   $395.00   $1,580.00
                Management & Planning / Megan Annitto


Service         Texas Permanent Injunction - 12/29/2022 - Document                 2.00   $395.00    $790.00
                Review/Data Analysis/Verification Work / Claudia Tahan


Service         Texas Permanent Injunction - 12/29/2022 - Document                 6.25    $85.00    $531.25
                Review/Data Analysis/Verification Work / Madison Clapp


Service         Texas Permanent Injunction - 12/29/2022 - Document                 5.75   $325.00   $1,868.75
                Review/Data Analysis/Verification Work / Darnyelle Cmil


Service         Texas Permanent Injunction - 12/29/2022 - Communication or         0.75    $85.00     $63.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Madison Clapp


Service         Texas Permanent Injunction - 12/29/2022 - Communication or         0.50   $250.00    $125.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Gianna Maita-Edwards


Service         Texas Permanent Injunction - 12/29/2022 - Document                 4.00   $250.00   $1,000.00
                Review/Data Analysis/Verification Work / Gianna Maita-
                Edwards


Service         Texas Permanent Injunction - 12/29/2022 - Communication or         1.50   $250.00    $375.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Gianna Maita-Edwards


Service         Texas Permanent Injunction - 12/29/2022 - Communication or         0.50   $250.00    $125.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Gianna Maita-Edwards


Service         Texas Permanent Injunction - 12/29/2022 -                          0.50   $250.00    $125.00
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Gianna Maita-Edwards


Service         Texas Permanent Injunction - 12/29/2022 - Communication or         0.50   $425.00    $212.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                Ryan


Service         Texas Permanent Injunction - 12/29/2022 - Document                 0.75   $395.00    $296.25
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/29/2022 - Document                 5.00   $395.00   $1,975.00
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/29/2022 - Project                  2.00   $395.00    $790.00
                Management & Planning / Charmaine Thomas



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Service         Texas Permanent Injunction - 12/29/2022 - Document                 0.25   $395.00     $98.75
                Review/Data Analysis/Verification Work / Eileen Crummy


Service         Texas Permanent Injunction - 12/29/2022 - Document                 2.50   $395.00    $987.50
                Review/Data Analysis/Verification Work / Jody Drebes


Service         Texas Permanent Injunction - 12/29/2022 - Document                 3.00   $395.00   $1,185.00
                Review/Data Analysis/Verification Work / Carlette Mack


Service         Texas Permanent Injunction - 12/29/2022 - Communication or         0.50   $395.00    $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Diane
                Scott


Service         Texas Permanent Injunction - 12/29/2022 - Communication or         1.50   $325.00    $487.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/29/2022 - Communication or         1.00   $325.00    $325.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Melea Weber


Service         Texas Permanent Injunction - 12/29/2022 - Document                 4.50   $325.00   $1,462.50
                Review/Data Analysis/Verification Work / Melea Weber


Service         Texas Permanent Injunction - 12/29/2022 - Communication or         1.00   $395.00    $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/29/2022 - Communication or         0.75   $395.00    $296.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 12/29/2022 -                          0.25   $395.00     $98.75
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Megan Annitto


Service         Texas Permanent Injunction - 12/29/2022 - Document                 1.00   $395.00    $395.00
                Review/Data Analysis/Verification Work / David Howard


Service         Texas Permanent Injunction - 12/29/2022 - Project                  1.00    $85.00     $85.00
                Management & Planning / Zsa Zsa Toms


Service         Texas Permanent Injunction - 12/29/2022 - Document                 4.00   $395.00   $1,580.00
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/29/2022 - Project                  5.00   $395.00   $1,975.00
                Management & Planning / Megan Annitto


Service         Texas Permanent Injunction - 12/30/2022 - Communication or         1.00   $395.00    $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Megan Annitto



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Service         Texas Permanent Injunction - 12/30/2022 - Project           0.25   $395.00     $98.75
                Management & Planning / Lisa Taylor


Service         Texas Permanent Injunction - 12/30/2022 - Document          7.00   $325.00   $2,275.00
                Review/Data Analysis/Verification Work / Melea Weber


Service         Texas Permanent Injunction - 12/30/2022 - Document          7.00   $325.00   $2,275.00
                Review/Data Analysis/Verification Work / Darnyelle Cmil


Service         Texas Permanent Injunction - 12/30/2022 - Document          7.00    $85.00    $595.00
                Review/Data Analysis/Verification Work / Madison Clapp


Service         Texas Permanent Injunction - 12/30/2022 - Document          1.25   $395.00    $493.75
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/30/2022 - Document          3.75   $395.00   $1,481.25
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/30/2022 - Document          1.50   $395.00    $592.50
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 12/30/2022 - Document          7.00   $250.00   $1,750.00
                Review/Data Analysis/Verification Work / Gianna Maita-
                Edwards


Service         Texas Permanent Injunction - 12/30/2022 - Document          4.50   $395.00   $1,777.50
                Review/Data Analysis/Verification Work / Jody Drebes


Service         Texas Permanent Injunction - 12/30/2022 - Document          1.75   $395.00    $691.25
                Review/Data Analysis/Verification Work / Megan Annitto


Service         Texas Permanent Injunction - 12/30/2022 - Document          1.00   $395.00    $395.00
                Review/Data Analysis/Verification Work / Eileen Crummy


Service         Texas Permanent Injunction - 12/30/2022 - Document          1.00   $395.00    $395.00
                Review/Data Analysis/Verification Work / David Howard


Service         Texas Permanent Injunction - 12/30/2022 - Document          1.50   $395.00    $592.50
                Review/Data Analysis/Verification Work / David Howard


Service         Texas Permanent Injunction - 12/30/2022 - Document          1.00   $250.00    $250.00
                Review/Data Analysis/Verification Work / June Simon


Service         Texas Permanent Injunction - 12/30/2022 - Document          2.50   $395.00    $987.50
                Review/Data Analysis/Verification Work / Jill Lefkowitz


Service         Texas Permanent Injunction - 12/30/2022 - Project           4.25   $395.00   $1,678.75
                Management & Planning / Megan Annitto


Service         Texas Permanent Injunction - 12/31/2022 - Document          5.50   $395.00   $2,172.50
                Review/Data Analysis/Verification Work / Carlette Mack




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Service         Texas Permanent Injunction - 12/31/2022 - Document       1.00        $395.00        $395.00
                Review/Data Analysis/Verification Work / David Howard


                                                                                Amount Due     $685,611.25




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